Case 2:24-cv-00173-Z                     Document 31                 Filed 10/23/24                 Page 1 of 220                PageID 347



                                        UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF TEXAS
                                             AMARILLO DIVISION

STATE OF TEXAS and
THE HERITAGE FOUNDATION,
                      Plaintiffs,

v.
                                                                                     CIVIL ACTION NO. 2:24-cv-173-Z
EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION; CHARLOTTE A.
BURROWS, in her official capacity as Chairman
of the Equal Employment Opportunity
Commission; MERRICK B. GARLAND, in his
official capacity as Attorney General of the
United States,
                      Defendants.


                          PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                                                                APPENDIX

Texas’s Statement re: Proposed Enforcement Guidance on Harassment in the Workplace Agency
Docket No.: EEOC-2023-0005, Dated November 1, 2023 ........................................ App. 001–004

Tennessee-led Statement re: Docket No. EEOC-2023-0005 (“Proposed Enforcement Guidance on
Harassment in the Workplace”), Dated November 1, 2023........................................App. 005–018

Enforcement       Guidance                        on                Harassment                           in               the             Workplace,
Dated April 29,2024 ................................................................................................................... App. 019–207

Commissioner Andrea R. Lucas’s Statement on EEOC Enforcement Guidance in the Workplace.
Dated April 29, 2024................................................................................................... App. 208–209

Declaration of Texas Commissioner of Agriculture Sid Miller.................................. App. 210–214

Declaration of Eric Korsvall ....................................................................................... App. 215–218
Case 2:24-cv-00173-Z        Document 31      Filed 10/23/24    Page 2 of 220    PageID 348



Dated: October 22, 2024                         Respectfully submitted,

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Case 2:24-cv-00173-Z        Document 31        Filed 10/23/24       Page 3 of 220       PageID 349




November 1, 2023
SUBMITTED ELECTRONICALLY
VIA REGULATIONS.GOV

Raymond Windmiller
Executive Officer
Executive Secretariat
U.S. Equal Employment Opportunity Commission
131 M Street NE
Washington, DC 20507

        RE:    Proposed Enforcement Guidance on Harassment in the Workplace
               Agency Docket No.: EEOC-2023-0005, RIN: 3046-ZA02


Dear Mr. Windmiller:
        The State of Texas submits the following public comment to the United States Equal
Employment Opportunity Commission (“the Commission”) in response to the Commission’s
request for comments on its proposed guidance titled Proposed Enforcement Guidance on Harassment
in the Workplace, 88 Fed. Reg. 67,750 (October 2, 2023).
   I.      The Commission lacks statutory authority to issue substantive rules under Title
           VII.
        The proposed guidance is in excess of the Commission’s statutory authority because it does
not possess the power to issue substantive rules or regulations under Title VII. “Congress, in
enacting Title VII, did not confer upon the EEOC authority to promulgate rules or regulations
pursuant to that Title.” Gen. Elec. Co. v. Gilbert, 429 U.S. 125, 141 (1976). The proposed
enforcement guidance the Commission published in the Federal Register claims to describe
regulated employers’ duties pursuant to Title VII relating to sexual orientation and gender
identity, mandating the manner in which those employers implement their company policies
regarding pronoun usage, access to bathroom facilities, and access to other facilities separated by
biological sex. It also purports to define as harassment speech disapproving of contraception or
abortion.
        Therefore, the proposed enforcement guidance is “in excess of statutory jurisdiction,
authority or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C); see also Texas v. EEOC,
933 F.3d 433, 451 (5th Cir. 2019) (finding that the EEOC overstepped its statutory authority in
issuing guidance because it constituted a substantive rule and “the text of Title VII and precedent




                                                                                          App. 001
Case 2:24-cv-00173-Z        Document 31        Filed 10/23/24       Page 4 of 220       PageID 350



confirm that EEOC lacks authority to promulgate substantive rules implementing Title VII”);
Texas v. EEOC, 633 F. Supp. 3d 824, 840 (N.D. Tex. 2022) (rejecting that EEOC’s 2021 guidance
requiring bathroom, dress code, and pronoun usage to be implemented based on gender identity
rather than biological sex imposed only “‘existing requirements under the law’ and ‘established
legal positions’ in light of Bostock and prior EEOC decisions interpreting Title VII”). The proposed
guidance should be withdrawn on this basis.
   II.     The proposed enforcement guidance is inconsistent with Title VII and Bostock.
        The proposed guidance on sexual orientation and gender identity also conflicts with Title
VII and with Bostock v. Clayton County, 140 S. Ct. 1731 (2020). Contrary to the Commission’s
position, Bostock described a much narrower interpretation of Title VII than is announced in the
proposed guidance.
        The proposed guidance arbitrarily expands the Supreme Court’s reasoning in Bostock to
situations that were not before the court for its consideration. First, the Bostock court emphasized
that its decision did “not purport to address bathrooms, locker rooms, or anything else of the
kind.” Bostock, 140 S. Ct. at 1753. It also did not rule on the issue of addressing employees using
biological sex-specific personal pronouns, which is the established English language usage. Bostock
did not hold that an employer who enforces a policy requiring an employee to use the bathroom
that corresponds to the employee’s biological sex rather than the employee’s gender identity
discriminates under Title VII. Separating restroom facilities based on biological sex is permitted
by Title VII and has been permitted since its enactment, because such a practice does not subject
anyone to a disadvantage based on sex. See, e.g., Causey v. Ford Motor Co., 516 F.2d 416 (5th Cir.
1975); see also Bostock, 140 S. Ct. at 1740 (“To ‘discriminate against’ a person, then, would seem
to mean treating that individual worse than other who are similarly situated.”) (citing Burlington
N. & S.F.R. Co. v. White, 548 U.S. 53, 59 (2006)).
         Second, the proposed guidance conflates “sexual orientation” and “gender identity” with
sex. But Bostock did not expand the definition of “sex.” Instead, the court “proceed[ed] on the
assumption that ‘sex’ … refer[s] only to biological distinctions between male and female.” Bostock,
140 S. Ct. at 1739. The outcome of Bostock did not turn on “norms concerning gender identity and
sexual orientation,” because Title VII is only concerned with discrimination based on biological
sex. Id.
        Third, Bostock allows employers to make some sex-based distinctions in employment
matters. Bostock relied upon Oncale v. Sundowner Offshore Services, Inc., 523 U.S. 75 (1998) in
support of its reasoning. Oncale clarified that Title VII “does not reach genuine but innocuous
differences in the ways men and women routinely interact with members of the same, and the
opposite, sex,” and noted that Title VII’s “prohibition of harassment on the basis of sex requires
neither asexuality nor androgyny in the workplace.” Id. at 81. The Court further emphasized that
Title VII is concerned with “whether members of one sex are exposed to disadvantageous terms
or conditions of employment to which members of the other sex are not exposed.” Id. at 80 (citing
Harris v. Forklift Sys., Inc., 510 U.S. 17, 25 (1993) (Ginsburg, J., concurring). Bostock warned that
“Title VII does not concern itself with everything that happens ‘because of’ sex,” Bostock, 140 S.
Ct. at 1740, but prohibits only discrimination “inextricably bound up with sex.” Id. at 1742.


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                                                                                          App. 002
Case 2:24-cv-00173-Z         Document 31        Filed 10/23/24       Page 5 of 220       PageID 351



        Fourth, Bostock did not overrule any Supreme Court precedent, and instead cited to
precedent from as far back as the 1970s as authority. See, e.g., Phillips v. Martin Marietta Corp., 400
U.S. 542 (1971); L.A. Dep’t of Water & Power v. Manhart, 435 U.S. 702 (1978). Bostock decided only
a single issue: whether an employer who fires someone simply for being homosexual or transgender
has discriminated against the terminated employee because of sex. Bostock, 140 S. Ct. at 1737.
       It also did not disturb lower-court precedent that has long applied those same longstanding
precedents. “[T]the Court relied in Bostock on the same well established Title VII principles that
animated the outcome in those prior decisions [of lower courts that applied the same key
precedents, so those courts] effectively anticipated Bostock’s rationale.” Maner v. Dignity Health,
9 F.4th 1114, 1124 (9th Cir. 2021) (Bea, J.) (explaining Bostock did not overturn decades of lower-
court precedents rejecting “paramour preference” theory of liability).
        This is consistent with Willingham v. Macon Tel. Publ’g Co., 507 F.2d 1084 (5th Cir. 1975)
(en banc), which upheld sex-specific grooming codes under Title VII. Willingham applied Phillips
v. Martin Marietta Corp., 400 U.S. 542 (1971), one of the key cases the Supreme Court relied on in
Bostock. The Second Circuit in Zarda v. Altitude Express, Inc., 883 F.3d 100, 119 (2d Cir. 2018) (en
banc)—which relied on the same key precedents that the Supreme Court would later adopt in
Bostock (Martin Marietta Corp. and L.A. Dep’t of Water & Power)—favorably cited Willingham as
consistent with its analysis, 883 F.3d at 118–19.
        In short, Bostock did not nullify the Supreme Court’s longstanding acceptance of
differences between the sexes. It did not question any longstanding precedent beyond the narrow
question before it: whether “[a]n employer who fires an individual merely for being gay or
transgender defies the law.” Bostock, 140 S. Ct. at 1754 (emphasis added).
        Finally, Bostock did not define the terms “sexual orientation,” “gender identity,” or
“transgender status.” The issue before the court in Bostock was solely related to discrimination
based on an employee’s status, and not an employee’s conduct. Bostock, 140 S. Ct. at 1737 (“Each
of the three cases before us started the same way: An employer fired a long-time employee shortly
after the employee revealed that he or she is homosexual or transgender—and allegedly for no
reason other than the employee’s homosexuality or transgender status.”). However, the
Commission’s proposed enforcement guidance seeks to mandate that employers provide
exceptions to permissible biological sex-based policies regarding pronoun usage, dress codes,
access to bathroom facilities, and access to other facilities separated by sex—in other words an
accommodation requirement as opposed to a non-discrimination requirement. The proposed
guidance falsely equates an employee’s status and correlated conduct. See Zarda, 883 F.3d at 119
(noting that “[w]hether sex-specific bathroom and grooming policies impose disadvantageous
terms or conditions is a separate question from this Court’s inquiry into whether sexual orientation
discrimination is ‘because of … sex,” and has no bearing on the efficacy of the comparative test”
used to determine whether Title VII has been violated); see also EEOC, 633 F. Supp. 3d at 830–36
(Bostock applies to homosexual or transgender status, not “correlated conduct” that may
contradict sex-specific dress, bathroom, pronoun, and healthcare policies).




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                                                                                           App. 003
Case 2:24-cv-00173-Z         Document 31       Filed 10/23/24      Page 6 of 220       PageID 352



   III.      Workplace speech opposing contraception or abortion does not constitute sex
             discrimination under Title VII.
    The proposed guidance also wrongly treats workplace speech opposing contraception or
abortion as unlawful harassment. This is contrary to Title VII—opposition to abortion is not sex
discrimination, see Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 269–74 (1993), and
even denying access to contraception does not violate the sex discrimination provision of Title VII.
In re Union Pacific Railroad Employment Practices Litigation, 479 F.3d 936 (8th Cir. 2007). There is
no basis for the Commission to treat speech opposing contraception or abortion as raising an issue
under Title VII.
   IV.       Conclusion
          For the foregoing reasons, the Commission should not adopt the proposed guidance.
                                                     Very truly yours,




                                                      Ken Paxton
                                                      ATTORNEY GENERAL OF TEXAS




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                                                                                         App. 004
Case 2:24-cv-00173-Z         Document 31         Filed 10/23/24       Page 7 of 220       PageID 353




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                                          November 1, 2023

SUBMITTED ELECTRONICALLY
  VIA REGULATIONS.GOV

Mr. Raymond Windmiller
Executive Officer, Executive Secretariat
U.S. Equal Employment Opportunity Commission
131 M Street NE
Washington, DC 20507

Re:    Docket No. EEOC-2023-0005 (“Proposed Enforcement Guidance on Harassment in
       the Workplace”)

Dear Mr. Windmiller:

          The State of Tennessee, joined by the States of Alabama, Alaska, Arkansas, Idaho, Indiana,
Iowa, Kansas, Louisiana, Mississippi, Missouri, Montana, Ohio, Oklahoma, South Carolina, South
Dakota, Texas, Utah, Virginia, and West Virginia, welcomes the opportunity to comment on the Equal
Employment Opportunity Commission’s “Proposed Enforcement Guidance on Harassment in the
Workplace,” 88 Fed. Reg. 67,750 (Oct. 2, 2023) (“Proposed Guidance”). This is not the first time
Tennessee and EEOC have interfaced on issues surrounding Title VII guidance and transgender
status. The last go-round, Tennessee and a coalition of nineteen other States filed suit to challenge
Chair Burrows’ “technical assistance document,” which advanced a vastly expanded view of Title VII
liability for the nation’s employers. Chair Burrows unilaterally issued that guidance in 2021 without
opportunity for comment, and the U.S. District Court for the Eastern District of Tennessee enjoined
it. See Tennessee v. U.S. Dep’t of Educ., 615 F. Supp. 3d 807 (E.D. Tenn. 2022). A different court later
vacated Chair Burrow’s guidance altogether in a decision EEOC declined to appeal. See Texas v.
EEOC, 633 F. Supp. 3d 824 (N.D. Tex. 2022).

         By a split vote of 3-2, EEOC has again put forward sweeping new Title VII guidance that
threatens Tennessee, the co-signing States, and countless other employers with widespread liability for
failing to promote the gender-identity preferences of their employees. Specifically, the Proposed
Guidance would broaden EEOC’s definition of “sex-based harassment” to include, among other

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                                                                                            App. 005
Case 2:24-cv-00173-Z          Document 31         Filed 10/23/24         Page 8 of 220        PageID 354


things, “intentional and repeated use of a name or pronoun inconsistent with the individual’s gender
identity (misgendering)” and “the denial of access to a bathroom or other sex-segregated facility
consistent with the individual’s gender identity.” Proposed Guidance at II.A. Unlike before, EEOC
has allowed a period for public comment—albeit only 30 days—regarding its expanded conception
of what Title VII requires. Tennessee appreciates EEOC’s belated move toward baseline measures
of procedural regularity and the chance to respond to EEOC’s proposal.

        As this comment explains, EEOC’s Proposed Guidance suffers stark legal flaws.

         First, EEOC’s proposal contravenes the Commission’s statutory authority. In Bostock v. Clayton
County, the Supreme Court narrowly held that an employer violates Title VII when it fires an employee
“simply for being … transgender.” 140 S.Ct. 1731, 1737 (2020). Yet EEOC casts Bostock as a silver
bullet for imposing breathtakingly broad transgender-based liability in contexts the Supreme Court
never considered. To illustrate:
    •   The Proposed Guidance asserts that employers violate Title VII when they maintain the
        “nearly universal” practice of separating bathrooms and changing facilities based on sex, rather
        than gender identity. Adams v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 796 (11th Cir. 2022).
        But Bostock expressly refrained from deciding whether that practice violates Title VII in language
        that EEOC does not meaningfully address. 140 S. Ct. at 1753.
    •   The Proposed Guidance also requires employers to adopt—and correct colleagues and
        customers for not adopting—transgender employees’ preferred pronouns. But such
        regulation of pure speech is likewise absent from Bostock.

In short, Bostock gives no license to these and other of EEOC’s novel proposals. Nor, in all events,
can EEOC permissibly require these deeply controversial gender-identity accommodations without
express congressional authorization—authorization not found in Title VII.

         Second, EEOC’s Title VII stance will unleash unconstitutional chaos in the Nation’s
workplaces. The Proposed Guidance “seeks to force [employers and their employees] to speak in
ways that align with its view but defy [their] conscience about a matter of major significance.” 303
Creative v. Elenis, 600 U.S. 570, 602-03 (2023). Here, the Proposed Guidance would require employers
to affirm or convey to employees and customers—often against religious conviction or deeply held
personal belief—messages that a person can be a gender different from his or her biological sex, that
gender has no correlation to biology, or that they endorse the use of pronouns like “they/them,”
“xe/xym/xyrs,” or “bun/bunself.”1 This mandate flouts First Amendment freedoms of religion and
speech—yet EEOC rejects any role for accommodation of contrary religious beliefs or speech.
Further, EEOC’s for-cause insulation from direct presidential supervision unconstitutionally blurs the
lines of accountability for this overhaul of workplaces nationwide.

          Third, EEOC’s proposal is arbitrary and capricious under the Administrative Procedure Act.
The proposal shortchanges the long-recognized privacy and safety justifications for sex-segregated
facilities in the course of requiring a radical and expensive restructuring of all employer facilities
around gender identity. The Proposed Guidance also does not account for the difficulty, if not
complete inability, of employers to confirm a person’s self-professed gender identity. EEOC further

1 See Ezra Marcus, A Guide to Neopronouns, NEW YORK TIMES (Sept. 18, 2022), available at https://www.nytimes
.com/2021/04/08/style/neopronouns-nonbinary-explainer.html.

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                                                                                                App. 006
Case 2:24-cv-00173-Z         Document 31        Filed 10/23/24       Page 9 of 220       PageID 355


fails to meaningfully consider the ways its proposal would backfire on the employment prospects of
transgender employees, as well as damage employee morale—and workplace productivity—to boot.
And the proposal fails to engage in any meaningful federalism analysis or justify EEOC’s about-face
from its prior recognition that States could permissibly implement policies requiring sex-segregated
facilities.

        Tennessee and the undersigned States are committed to ensuring that all persons are able to
work in environments that appropriately balance safety, freedom of speech and religion principles,
collegiality, and productivity. The undersigned States hope that EEOC will reconsider its Proposed
Guidance, which would harm the States’ interests on each of these fronts.

I.     EEOC’s Proposed Guidance Unlawfully Expands the Scope of Title VII.

        As an administrative agency, EEOC “literally has no power to act … unless and until Congress
confers power upon it.” Louisiana Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986). Thus, EEOC
can only act “within the bounds” of its statutory authority when promulgating rules. Utility Air Regul.
Grp. v. EPA, 573 U.S. 302, 321 (2014); see 5 U.S.C. § 706(2)(C). EEOC claims the Supreme Court’s
decision in Bostock empowers it to compel the Proposed Guidance’s new gender-identity regime. But
Bostock is not nearly that broad, and EEOC otherwise lacks the authority to saddle the undersigned
States with novel gender-identity-based liability.

       A.      Bostock does not license EEOC’s expanded application of Title VII to all
               transgender-related employment issues.

        The Proposed Guidance, like the invalid 2021 guidance, fundamentally misconstrues and
improperly extends Bostock to support its construction of Title VII. See, e.g., Proposed Guidance at
II.A n.29.

        Bostock only concerned—and thus its holding only addresses—allegations of discriminatory
termination. See 140 S. Ct. at 1753 (concluding that “employers are prohibited from firing employees
on the basis of homosexuality or transgender status”). The Court explicitly disclaimed any intent “to
address bathrooms, locker rooms, or anything else of the kind.” Id. Citing this clear limit, courts
previously rejected EEOC’s argument that Bostock supported the Title VII analysis in Chair Burrows’
2021 guidance document. See Tennessee, 615 F. Supp. 3d at 833 (“Bostock does not require Defendants’
interpretations of Title VII and IX.”); Texas, 633 F. Supp. 3d at 840 (“Title VII — as interpreted in
Bostock — does not require such [dress-code, bathroom, and pronoun] accommodations.”). Yet the
Proposed Guidance re-ups EEOC’s reliance on Bostock to include “denial of access to a bathroom or
other sex-segregated facility consistent with the individual’s gender identity” as sex-based
discrimination under Title VII. Proposed Guidance at II.A. As with the 2021 guidance, this move
finds no grounding in Bostock’s narrow holding.

         Nor does Bostock’s broader reasoning support EEOC’s position. Bostock did not change the
definition of “sex,” but instead proceeded “on the assumption that ‘sex’ signified . . . biological
distinctions between male and female.” Bostock, 140 S. Ct. at 1739. But these biological distinctions
are the core basis for separate bathrooms, as opposed to employment decisions generally. Cf. id. at
1741 (“An individual’s … transgender status is not relevant to employment decisions.”). If anything,
Bostock’s sex-means-sex logic confirms that separate bathrooms and changing facilities for men and
women are lawful: Because all men must use male facilities, and all women must use female facilities,

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                                                                                           App. 007
Case 2:24-cv-00173-Z             Document 31           Filed 10/23/24          Page 10 of 220          PageID 356


 differentiating facilities based on sex does not involve treating a transgender employee “worse than
 others who are similarly situated.” Id. at 1740. EEOC’s contrary reading would implausibly preference
 the category of “gender identity” (absent from Title VII) over sex (actually protected under Title VII).

         Furthermore, the Proposed Guidance amends Title VII to create a de facto accommodation for
 gender identity—even though Bostock did not address the accommodations context. Under Title VII,
 simple recognition of sex-based differences, such as that reflected in the use of different pronouns or
 private spaces, does not violate Title VII. See Oncale v. Sundowner Offshore Servs., 523 U.S. 75, 81 (1998)
 (holding that Title VII’s prohibitions on discrimination do “not reach genuine but innocuous
 differences in the ways men and women routinely interact with members of the same sex and of the
 opposite sex”). By requiring employers to create exceptions to otherwise lawful policies that segregate
 bathrooms by sex or permit use of gendered pronouns, the Proposed Guidance would require
 employers to affirmatively accommodate a person’s gender identity. Congress knew how to require
 accommodations for certain classes in Title VII, see, e.g., 42 U.S.C. §2000e(j) (mandating religious
 accommodations), yet has thus far declined to do so for transgender persons. Congress’s failure to
 adopt this “ready alternative” of requiring transgender-based accommodations “indicates that
 Congress did not in fact want what [EEOC] claim[s].” Advocate Health Care Network v. Stapleton, 581
 U.S. 468, 477 (2017).

          EEOC subtly expands Bostock along another important dimension. The Proposed Guidance
 states that Title VII prohibits discrimination based on “sexual orientation” or “gender identity.”
 Proposed Guidance at II.A. But Bostock only addresses “homosexuality” and “transgender status,”
 Bostock, 140 S. Ct. at 1753—which are distinct concepts in important ways. In particular, transgender
 status, as Bostock understood it, is “inextricably bound up with sex” such that treating a transgender
 person differently “penalizes a person identified as male at birth for traits or actions that it tolerates
 in an employee identified as female at birth.” Bostock, 140 S. Ct. at 1741. Gender identity, by contrast,
 is much more expansive and includes numerous identities that fall entirely outside of the biological
 binary of male and female. See, e.g., HRC Glossary (“Non-binary people may identify as being both a
 man and a woman, somewhere in between, or as falling completely outside these categories.”).2 Such
 nonbinary identities are not “inextricably bound up with sex” in the way Bostock cast transgender
 status—further undercutting Bostock’s applicability here.

          B.       Other precedents do not license EEOC’s expanded application of Title VII to
                   all transgender-related employment issues.

         Nor can EEOC permissibly draw support from the cases it cites beyond Bostock. As an initial
 matter, the EEOC itself has indicated that only the U.S. Supreme Court’s construction of Title VII is
 authoritative. Lavern B., Complainant, EEOC DOC 0720130029, 2015 WL 780702, at *11 (Feb. 12,
 2015) (“[I]n the federal sector, federal district and circuit court decisions may be persuasive or
 instructive, but are not binding on the Commission.”). Similarly, to the extent that the EEOC relies
 on its own administrative decisions,3 such decisions “are not binding authority and cannot be
 considered definitive interpretations of Title VII.” Tennessee, 615 F. Supp. 3d at 840 n.17; see also Wade
 v. Brennan, 647 F. App’x 412, 416 n.8 (5th Cir. 2016) (“We may rely on EEOC decisions as persuasive

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   Human Rights Campaign, Glossary of Terms, https://tinyurl.com/2tbewj2v (last visited Oct. 25, 2023)
 3 See, e.g., Proposed Guidance at II.A n.28 (citing Lusardi v. McHugh, EEOC Appeal No. 0120133395, 2015 WL 1607756,
 at *1 (Apr. 1, 2015)), Baldwin v. Dep’t of Transp., EEOC Appeal No. 0120133080, 2015 WL 4397641, at *5, *10 (July 15,
 2015).

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                                                                                                         App. 008
Case 2:24-cv-00173-Z              Document 31            Filed 10/23/24          Page 11 of 220            PageID 357


 authority, but they are not binding.”). That is doubly true where EEOC’s cited decisions pertain to
 federal employers, which are subject to a different statutory standard than private or state employers.
 Compare 42 U.S.C. §2000e-16(a) (“All personnel actions . . . shall be made free from any discrimination
 based on . . . sex.”) with 42 U.S.C. §2000e-2(a)(1) (“It shall be . . . unlawful . . . to discriminate against
 any individual . . . because of such individual’s . . . sex.”).

          The Proposed Guidance otherwise cites to only two non-binding district court cases that
 arguably support4 its construction of Title VII. See Proposed Guidance at II.A n.29 (citing Doe v.
 Triangle Doughnuts, LLC, 472 F. Supp. 3d 115 (E.D. Pa. 2020); Tudor v. Southeastern Oklahoma State Univ.,
 Case No. CIV-15-324, 2017 WL 4849118, at *1 (W.D. Okla. Oct. 26, 2017)). These are a “wafer-thin
 reed on which to rest such sweeping” requirements. Ala. Ass’n of Realtors v. HHS, 141 S. Ct. 2485,
 2489 (2021). In Triangle Doughnuts, the district court merely held that the plaintiff’s alleged pattern of
 harassment stated a claim for a hostile work environment under Title VII. 472 F. Supp. 3d at 129-30.
 Although misgendering and bathroom use were among the numerous allegations of harassment, it is
 not clear that those allegations played any role—let alone governed—the court’s determination that
 the Complaint stated a claim under Title VII. See id. Similarly, in Tudor, the court noted long-standing
 restrictions on bathroom use and extensive misgendering among multiple factors by which it
 determined a jury could find harassment. 2017 WL 4849118, at *1. The jury declined the invitation
 and rejected the plaintiff’s harassment claim. See Tudor v. Southeastern Oklahoma State Univ., 13 F.4th
 1019, 1027 (10th Cir. 2021) (noting that the jury had found for the defendant on Dr. Tudor’s hostile
 work environment claim).

         Title IX caselaw also cannot sustain EEOC’s flawed reading. Although some federal circuits
 have interpreted Title IX to entitle students to use the restroom according to their gender identity, the
 federal circuit courts are divided on that issue. See Proposed Guidance at II.A n.34 (citing cases).
 Regardless, Title VII and Title IX are different statutes with different wording, so “principles
 announced in the Title VII context [do not] automatically apply in the Title IX context.” Meriwether v.
 Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021); see Bostock, 140 S. Ct. at 1753 (declining to “prejudge”
 questions about “other federal or state laws that prohibit sex discrimination”).

          C.       EEOC’s Proposed Guidance otherwise exceeds the agency’s Title VII
                   authority.

        On top of all this, EEOC’s Proposed Guidance violates limits on EEOC’s power to enshrine
 new substantive Title VII requirements.

          1.     The Proposed Guidance exceeds EEOC’s narrow rulemaking authority, which
 empowers EEOC to adopt only “procedural regulations to carry out the provisions of this subchapter.”
 42 U.S.C. §2000e-12(a) (emphasis added). As this plain text indicates, EEOC “may not promulgate
 substantive rules.” Texas v. EEOC, 933 F.3d 433, 439 (5th Cir. 2019); see also E.E.O.C. v. Arabian Am.
 Oil Co., 499 U.S. 244, 257 (1991) (recognizing that Title VII “did not confer upon the EEOC authority
 4 The Proposed Guidance’s strained reliance on other cited cases only further indicts EEOC’s reading.      Houlb v. Saber
 Healthcare Grp., LLC construed Ohio employment law, not Title VII. No. 1:16-CV-02130, 2018 WL 1151566, at *2 (N.D.
 Ohio Mar. 2, 2018). In Versace v. Starwood Hotels & Resorts Worldwide, Inc., the court only assumed arguendo that alleged
 misgendering might violate Title VII on the way to concluding that the conduct was not sufficiently pervasive to support
 a violation. No. 6:14-CV-1003, 2015 WL 12820072, at *7 (M.D. Fla. Dec. 7, 2015). In Parker v. Strawser Constr., Inc., the
 court made a single reference to misgendering in recounting the factual background and never returned to it when
 performing a Title VII analysis. 307 F. Supp. 3d 744, 748 (S.D. Ohio 2018).

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                                                                                                             App. 009
Case 2:24-cv-00173-Z           Document 31         Filed 10/23/24        Page 12 of 220         PageID 358


 to promulgate rules or regulations”). A substantive rule issued by EEOC is invalid regardless of
 whether the EEOC participates in notice-and-comment rulemaking. Texas, 933 F.3d at 451.

          The Proposed Guidance expands Title VII beyond its text and structure and, therefore, acts
 as a substantive rule. In this way, EEOC’s Proposed Guidance repeats the same legal error of the
 vacated 2021 guidance issued by Chair Burrow. As with the 2021 guidance, the Proposed Guidance
 states that intentional misgendering and denial of access to a bathroom consistent with an employee’s
 gender identity is “sex-based harassment” that violates Title VII. As with the 2021 guidance, this
 interpretation by the Proposed Guidance expands rather than implements Title VII, and thus
 constitutes a substantive rule rather than a procedural regulation. See Texas, 623 F. Supp. 3d at 840
 (rejecting that the 2021 guidance imposed only “‘existing requirements under the law’ and ‘established
 legal positions’ in light of Bostock and prior EEOC decisions interpreting Title VII”); Tennessee, 615 F.
 Supp. 3d at 832 (“Though the EEOC maintains that the Technical Assistance Document does not
 alter employers’ obligations under Title VII, it precisely does.”). As with the 2021 guidance, this
 dynamic would render the Proposed Guidance unlawful if finalized.

          It is no response that the Proposed Guidance contains a boilerplate disclaimer that “[t]he
 contents of this document do not have the force and effect of law and are not meant to bind the
 public in any way.” Proposed Guidance at I.A. Courts assessing the 2021 guidance rejected the
 relevance of a similar disclaimer because the document otherwise evinced an intent to propose an
 expansive and authoritative construction of Title VII. See Texas, 633 F. Supp. 3d at 839-40; Tennessee,
 615 F. Supp. 3d at 831. As with the 2021 guidance, EEOC clearly intends for the Proposed Guidance
 to be authoritative and for legal consequences to flow from it once implemented. Proposed Guidance
 at II (“The federal EEO laws prohibit workplace harassment if it is shown to be based on one or more
 of a complainant’s characteristics that are protected by these statutes.”); id. at II.A (“Sex-based
 harassment includes . . . intentional and repeated use of a name or pronoun inconsistent with the
 individual’s gender identity (misgendering) or the denial of access to a bathroom or other sex-
 segregated facility consistent with the individuals gender identity.”); see also id. at I.A (“This guidance
 also consolidates, and therefore supersedes, several earlier EEOC guidance documents.”).

         Moreover, Title VII standards mean employers would need to immediately implement new
 training and employment materials that reflect EEOC’s Proposed Guidance. See Proposed Guidance
 at IV.C.2.b.i. This is because a critical factor in assessing both hostile-work-environment claims
 generally and employers’ vicarious Title VII liability in particular is whether the employer has adequate
 training materials and procedures for reporting unlawful harassment. E.g., Faragher v. City of Boca Raton,
 524 U.S. 775, 808-09 (1998); Clark v. United Parcel Service, Inc., 400 F.3d 341, 349-50 (6th Cir. 2005); see
 also EEOC, Checklists for Employers – Checklist Two: An Anti-Harassment Policy,
 https://www.eeoc.gov/checklists-employers-0 (employer policies should include “[a]n easy-to-
 understand description of prohibited conduct”). Practically speaking, then, EEOC’s Proposed
 Guidance operates as a proactive mandate to overhaul employer processes upon its publication.

         2.      Congress has not clearly authorized EEOC to broaden the reach of Title VII to include
 the Proposed Guidance’s nationwide gender-identity-accommodation regime. There is no doubt that
 EEOC’s policy purports to resolve questions “of vast economic and political significance.” West
 Virginia v. EPA, 142 S. Ct. 2587, 2605 (2022); see Bostock, 140 S. Ct. at 1753 (2020) (“We can’t deny
 that today’s holding . . . is an elephant.”). It is thus up to clearly expressed “legislative action,” not an
 unelected and unaccountable EEOC, to resolve the “fraught line-drawing dilemmas” associated with


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                                                                                                  App. 010
Case 2:24-cv-00173-Z           Document 31          Filed 10/23/24         Page 13 of 220         PageID 359


 balancing gender-identity accommodations, employee health, welfare, and safety, and freedom of
 speech, conscience, and religion. L.W. ex rel Williams v. Skrmetti, 83 F.4th 460, 486 (6th Cir. 2023).

          3.       Statutes also must, whenever possible, “be construed to avoid serious constitutional
 doubts.” Brawner v. Scott Cnty., 14 F.4th 585, 592 n.2 (6th Cir. 2021) (quoting FCC v. Fox Television
 Stations, Inc., 556 U.S. 502, 516 (2009)). Yet EEOC’s Proposed Guidance would open a Pandora’s
 Box of constitutional problems with Title VII. See infra p. 7-9, 12. The constitutional-avoidance canon
 “take[s] precedence” over any interpretive deference EEOC might claim and cuts further against
 EEOC’s novel interpretation of Title VII. Arangure v. Whitaker, 911 F.3d 333, 339-40 (6th Cir. 2018).

 II.     EEOC’s Proposed Guidance Violates the Constitution.

         Agency action cannot be “contrary to constitutional right [or] power.” 5 U.S.C. § 706(2)(B).
 Here, multiple constitutional violations pervade EEOC’s proposal. First, the Proposed Guidance
 improperly compels employers and their employees to convey EEOC’s preferred message regarding
 gender ideology, vitiating core First Amendment freedoms. And second, the EEOC’s putatively
 independent structure—in which Commissioners are insulated from at-will presidential removal—
 violates the separation of powers.

         A.       EEOC’s proposal contravenes First Amendment protections of employers and
                  employees.

         “If there is any fixed star in our constitutional constellation, it is that no official, high or petty,
 can prescribe what shall be orthodox in politics, nationalism, religion, or other matters of opinion, or
 force citizens to confess by word or act their faith therein.” 303 Creative, 600 U.S. at 584-85 (quoting
 West Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943)). That core First Amendment
 principle reflects that “the freedom of thought and speech is ‘indispensable to the discovery and spread
 of political truth.’” Id. at 584 (quoting Whitney v. California, 274 U.S. 357, 375 (1927) (Brandeis, J.,
 concurring)). The Proposed Guidance flouts these principles by prolifically dictating how employers
 and their employees must view and speak about controversial gender-identity preferences.

         EEOC’s Proposed Guidance would unlawfully compel employers to convey government-
 preferred messages they “do[] not endorse” on pain of significant liability. Id. at 581. To avoid
 potential liability for creating a “hostile work environment,” EEOC would require employers to
 affirmatively correct employees and customers who use biologically correct pronouns that conflict
 with a person’s gender identity—thus conveying agreement with the controversial message that sex
 stems from something other than biology. So too, to comply with Title VII as EEOC reads it, an
 employer must promulgate written policies, training materials, a complaint procedure, and a
 monitoring program affirming gender ideology. See Proposed Guidance at IV.C.2.b.i. And under the
 EEOC’s Proposed Guidance, even persons who seek employment with a covered employer can be
 compelled to affirm the government’s gender-ideology viewpoint.

         Free-speech limits do not allow EEOC to compel employers to “speak its preferred message”
 against their will. 303 Creative, 600 U.S. at 597. The Supreme Court’s 303 Creative decision is squarely
 on point. There, Colorado sought “to compel speech” by a website designer that she did “not wish
 to provide.” Id. at 588. The Court concluded that Colorado’s efforts violated the First Amendment.
 Simply put, the government generally cannot “force someone who provides her own expressive


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                                                                                                    App. 011
Case 2:24-cv-00173-Z         Document 31         Filed 10/23/24       Page 14 of 220        PageID 360


 services to abandon her conscience and speak its preferred message instead”—even when “others
 may find” the speaker’s preferred message “misinformed or offensive.” Id. at 595, 597.

         303 Creative’s rule likewise governs here. EEOC’s Proposed Guidance means that if an
 employer “wishes to speak, she must either speak as the State demands or face sanctions for expressing
 her own beliefs.” Id. at 589. The First Amendment does not let EEOC put employers to that choice.
 Indeed, applying a similar rule, the Sixth Circuit has already concluded that requiring the unwanted
 use of preferred pronouns violates free-speech rights. See Meriwether, 992 F.3d at 511-12 (holding
 university’s policy requiring faculty to use students’ preferred pronouns violated professor’s free-
 speech rights). Yet EEOC mentions neither of these cases.

         Compounding its problems, EEOC’s requirement further limits speech based on viewpoint—
 a particularly “egregious form of content discrimination.” Rosenberger v. Rectors & Visitors of Univ. of
 Virginia, 515 U.S. 819, 828-29 (1995)). Employers and their employees may speak without restriction
 when they embrace an ideology of mutable gender divorced from sex, but face liability if they do
 otherwise. See Otto v. Boca Raton, Florida, 981 F.3d 854, 863 (11th Cir. 2020) (holding unconstitutional
 ordinances that “codif[ied] a particular viewpoint—sexual orientation is immutable, but gender is
 not—and prohibit the therapists from advancing any other perspective when counseling clients”); see
 also Business Leaders in Christ v. University of Iowa, 991 F.3d 969, 978 (8th Cir. 2021) (affirming that
 university policy was unlawful where student group “was prevented from expressing its viewpoints on
 protected characteristics while other student groups ‘espousing another viewpoint [were] permitted to
 do so’”).

         Requiring that employers and employees adhere to EEOC’s chosen gender-ideology
 orthodoxy likewise trenches on religious freedoms. Whether under the First Amendment or the
 Religious Freedom Restoration Act (RFRA), 42 U.S.C. § 2000bb et seq., EEOC’s gender-ideology
 accommodation mandate would impermissibly violate employers’ and employees’ free-exercise rights.
 See Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 720-21 (2014). The First Amendment’s limits on
 impinging free exercise also prohibit EEOC’s interpretation of Title VII. Because the law provides
 exemptions for small employers, it is not “generally applicable” and therefore triggers strict scrutiny
 under free-exercise caselaw. See Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1881-82 (2021).

          Nor could EEOC satisfy the strict First Amendment scrutiny its problematic approach
 triggers. That employees may take offense at the refusal of others to address them according to their
 gender identity is not a sufficient ground to compel the use of their preferred pronouns. 303 Creative,
 600 U.S. at 595 (“Nor, in any event, do the First Amendment’s protections belong only to speakers
 whose motives the government finds worthy; its protections belong to all, including to speakers whose
 motives others may find misinformed or offensive.”); see also Masterpiece Cakeshop, Ltd. v. Colo. C.R.
 Comm’n, 138 S. Ct. 1719, 1731 (2018) (“[I]t is not, as the Court has repeatedly held, the role of the
 State or its officials to prescribe what shall be offensive.”). And EEOC’s sweeping approach—
 including its rejection of any room for protecting “religious expression that creates, or reasonably
 threaten to creates, a hostile work environment,” Proposed Guidance at IV.C.3.b.ii.b—is far from
 narrowly tailored.

        B.      EEOC’s proposal is invalid because EEOC is unconstitutionally structured.

       Article II of the Constitution vests “‘the executive Power’—all of it”—in the President. Seila
 Law LLC v. CFPB, 140 S. Ct. 2183, 2191 (2020) (quoting U.S. Const. art. II, § 1). Tennessee and other

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                                                                                             App. 012
Case 2:24-cv-00173-Z              Document 31           Filed 10/23/24           Page 15 of 220           PageID 361


 co-signing States have recently written to point out how EEOC’s putative “independent” status
 violates this Article II command.5 Tennessee incorporates and renews that objection here and writes
 only to reemphasize that EEOC’s separation-of-powers foul is no mere technicality. Our
 constitutional system ensures “the ultimate authority resides in the people alone,” Jonathan Skrmetti,
 Why We Must Fight to Preserve the Constitution, THE TENNESSEAN (Sept. 15, 2023),
 https://tinyurl.com/ycjx7wwu; see also The Federalist No. 46, including by requiring that the executive
 officials who “wield significant authority … remain[] subject to the ongoing supervision and control
 of the elected President,” Seila Law, 140 S. Ct. at 2203. EEOC’s current scheme impermissibly thwarts
 public accountability for radical agency policies by blurring who is to blame among the President and
 EEOC heads.

 III.     EEOC’s Proposed Guidance Is Arbitrary and Capricious.

          The APA requires agency decision-making to be “reasonable and reasonably explained.” FCC
 v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). Agency actions are arbitrary and capricious
 when they “entirely fail[] to consider an important aspect of the problem or offer[] an explanation for
 its decision that runs counter to the evidence before it.” Little Sisters of the Poor Saints Peter & Paul Home
 v. Pennsylvania, 140 S. Ct. 2367, 2383-84 (2020) (quoting Motor Vehicle Mfrs. Assn. of United States, Inc. v.
 State Farm Mut. Automobile Ins. Co., 463 U.S. 29, 43 (1983)). EEOC’s proposal violates these baseline
 APA rules in multiple respects.

          A.       EEOC has not considered or addressed the long-recognized privacy and safety
                   justifications for sex-segregated spaces.

         EEOC’s Proposed Guidance would subject employers to liability for requiring transgender
 employees to use bathrooms associated with their sex. But Courts have repeatedly recognized the
 value in, and sometimes the necessity of, private, sex-segregated spaces. A sampling:
          •    “Admitting women to [Virginia Military Institute] would undoubtedly require alterations
               necessary to afford members of each sex privacy from the other sex in living
               arrangements.” United States v. Virginia, 518 U.S. 515, 550 n.19 (1996).
          •    “[S]eparate places to disrobe, sleep, [and] perform personal bodily functions are permitted,
               in some situations required, by regard for individual privacy.” Adams, 57 F.4th at 804 (quoting
               Ruth Bader Ginsburg, The Fear of the Equal Rights Amendment, WASH. POST, Apr. 7, 1975,
               at A21 (emphasis original)).
          •    “[S]ociety [has expressed] undisputed approval of separate public rest rooms for men and
               women based on privacy concerns. The need for privacy justifies separation and the
               differences between the genders demand a facility for each gender that is different.”
               Faulkner v. Jones, 10 F.3d 226, 232 (4th Cir. 1993).
 The federal government, for its part, has specifically created exceptions for single-sex living facilities
 in education—thus endorsing the longstanding and common-sense practice of segregating the sexes
 to promote privacy and safety. See 20 U.S.C. §1686.



 5 See Comment Ltr. of Tennessee et al. on EEOC RIN 3046-AB30, Regulations to Implement the Pregnant Workers Fairness Act

 (Oct. 10, 2023), https://www.tn.gov/content/dam/tn/attorneygeneral/documents/pr/2023/pr23-44-comment.pdf

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                                                                                                            App. 013
Case 2:24-cv-00173-Z                  Document 31               Filed 10/23/24              Page 16 of 220               PageID 362


         What makes places like restrooms and changing facilities private, however, also makes them
 susceptible to abuse by bad actors. Public restrooms, in particular, have long been designed to feature
 deliberately obstructed sightlines, limited points of ingress or egress, and a categorical exemption from
 most forms of surveillance. Add the fact that many people using these facilities are partially or
 completely undressed, and the potential for harassment, voyeurism, or even violent crime is obvious.
 Women, moreover, are particularly vulnerable in light of the “[e]nduring” “physical differences
 between men and women.” Virginia, 518 U.S. at 533; see Brief for the Women’s Liberation Front as
 Amicus Curiae 9, Adams, 57 F.4th 791 (arguing that allowing men in women’s private spaces “inherently
 threatens women’s physical safety in the places previously preserved exclusively for women and girls”).

          It is thus an unfortunate reality that the news is replete with reported instances of assaults
 occurring in public restrooms.6 EEOC nonetheless fails to recognize that its Proposed Guidance will
 enable this nefarious conduct. At present, a woman encountering a male in a “sex-segregated space …
 do[es] not have to wait until the man has already assaulted her before she can fetch security.”7 But if
 a person’s self-reported (and potentially multi-faceted or shifting) gender identity can determine the
 bathrooms he may use, that safety valve will be bolted shut. See id. Some women may not even have
 recourse following abuse if their male perpetrators had every right to be present, expose themselves, or
 witness others changing in a restroom or changing room.8 In fact, the victims of voyeurism might not
 even realize when it has occurred or have any hope of identifying a suspect afterward.9 Nor can
 EEOC sidestep these incidents by noting they can occur with or without sex-segregated spaces. The
 “important aspect of the problem” with the Proposed Guidance is not that it fails to prevent these
 crimes from occurring, but that it risks facilitating some number of such crimes by stripping away crucial
 safeguards. State Farm, 463 U.S. at 43.

           B.         EEOC has not considered or addressed the difficulties of discerning and
                      authenticating gender identity.

          The Proposed Guidance also fails to address the difficulty in ascertaining gender identity. Sex
 is an “immutable characteristic determined solely by accident of birth.” Frontiero v. Richardson, 411 U.S.
 677, 686 (1973). In contrast, “the transgender community is not a monolith in which every person
 wants to take steps necessary to live in accord with his or her preferred gender (rather than his or her

 6 See, e.g., Emma James, Oklahoma mother files lawsuit against school district after her teenage daughter, 15, was ‘severely beaten’ by a

 transgender student, 17, in the girls’ bathroom, DAILY MAIL (June 1, 2023), https://tinyurl.com/2p8d9srz; Audrey Washington,
 ‘A heinous crime:’ 15-year-old girl says student sexually assaulted her in Cobb high school bathroom, WSB-TV NEWS (May 16, 2023),
 https://tinyurl.com/3nrk6rut; Henri Hollis, Man arrested in ‘egregious’ rape of girl in bathroom at Kennesaw park, cops say, ATLANTA
 JOURNAL-CONSTITUTION (May 13, 2022), https://tinyurl.com/3m85kr5c; Virginia Abraham, Teenager found guilty in
 Loudoun County bathroom assault, WASHINGTON EXAMINER (Oct. 25, 2021), https://tinyurl.com/4vmxzkkh; Pittsburgh
 McDonald’s sued after manager charged with raping worker, PITTSBURGH POST-GAZETTE (Sept. 22, 2021),
 https://tinyurl.com/2u4v9wx7; Spencer Neale, Gender-neutral bathroom closed after high school student arrested for sexual assault,
 WASHINGTON EXAMINER (March 4, 2020), https://tinyurl.com/ymevmdaa; City News Service, Man Accused of Secretly
 Recording Women in Denny’s Restaurant Restroom, NBC4 NEWS (Nov. 17, 2016), https://tinyurl.com/bde38ffk; Employee
 attacked in Duke hospital bathroom, WRAL NEWS (Sept. 23, 2015), https://tinyurl.com/nhf88zxn; Emily L. Mahoney, Man
 held in Cortez Park rape, THE REPUBLIC (July 9, 2015), https://tinyurl.com/ysts9yw5; Juan Flores, Man Sought in Sexual
 Assault of Girl, 10, in Denny’s Restroom, KTLA NEWS (Jan. 7, 2014), https://tinyurl.com/yntfn4ap.
 7 Cambridge Radical Feminist Network, There is Nothing Progressive About Removing Women-Only Bathrooms, Medium (Jan. 13,

 2019), https://tinyurl.com/3ncw6ss5.
 8 See, e.g., Man in Women’s Locker Room Cites Gender Rule, King 5 Seattle (Feb. 16, 2016), https://tinyurl.com/ye299ndz.
 9 See, e.g., Man Dressed as Woman Arrested for Spying into Mall Bathroom Stall, Police Say, 4 Washington (last updated Nov. 18,

 2015), https://tinyurl.com/mr2dz9yk.


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Case 2:24-cv-00173-Z             Document 31          Filed 10/23/24          Page 17 of 220          PageID 363


 biological sex).” Doe 2 v. Shanahan, 917 F.3d 694, 722 (D.C. Cir. 2019) (Wilkins, J., concurring). As
 one prominent advocacy group has advised, “[t]here is no way to determine if someone is transgender
 or non-binary unless they share their personal gender identity.”10 Although some transgender
 individuals may change their name or preferred pronouns or medically transition through hormone
 therapy or surgery, a transgender person “may choose to undergo some, all, or none of these
 processes.”11 Accordingly, the only evidence that an employer can have as to a person’s current gender
 identity is concurrent representations by that person.

         Moreover, gender identity is not fixed. A person can “embrace a fluidity of gender identity”
 or have “a fluid or unfixed gender identity.”12 And the possibilities for potential protected identities
 continue to grow: Recent estimates cite some 80 types of genders and gender identities, ranging from
 “aliagender” to “bigender” to “demiboy” to “genderqueer” to “transfeminine” and many more.13
 EEOC does not explain how employers are to continually monitor and update their employment
 policies to reflect the latest developments in gender ideology, let alone adequately account for the
 costs of complying with this demanding requirement. Holding employers liable for unknowable,
 unverifiable, and in some cases oft-changing traits is unsustainable, especially in conjunction with
 society’s legitimate interest in sex-restricted private spaces.

         C.       EEOC has not considered or addressed how the Proposed Guidance may harm
                  the employment prospects of transgender persons as well as workplace morale
                  and productivity.

           Under the APA, agencies must consider the countervailing consequences of a proposed
 regulatory approach. See, e.g., Am. Gas Ass’n v. FERC, 593 F.3d 14, 19-20 (D.C. Cir. 2010); Chamber of
 Commerce v. SEC, 412 F.3d 133, 140 (D.C. Cir. 2005). Here, EEOC’s proposal risks grave harm to the
 ability of transgender employees to obtain employment. The Proposed Guidance requires employers
 to police interactions between transgender employees and customers so that they can intervene should
 customers engage in “misgendering.” Proposed Guidance at II.A, Example 4. It should be obvious
 that injecting employers into such sensitive interactions threatens the customer-business relationship
 by deterring future patronage. Likewise, requiring employers to open up bathrooms and changing
 facilities to employees based on their preferred gender identity could lead to conflicts with other
 employees and customers who feel their privacy or safety has been compromised. Not to mention,
 requiring employers to enforce policies that violate the deeply held beliefs of many workers risks
 creating the type of strife, confusion, and resentment that in turn drains productivity. Given all this,
 EEOC’s Proposed Guidance may well make it more difficult for transgender employees to obtain
 employment—thus harming rather than helping this population. Yet EEOC has not mentioned—let
 alone addressed—this patent downside of its proposal, as the APA requires.




 10 Human Rights Campaign, Transgender and Non-Binary People FAQ, https://tinyurl.com/5f9jvs4c (last visited Oct. 25,

 2023).
 11 HRC Glossary, https://tinyurl.com/2tbewj2v.
 12 Id.
 13 Chris Drew, 81 Types of Genders & Gender Identities (A to Z List), HELPFULPROFESSOR.COM (Mar. 26, 2022),

 https://tinyurl.com/yc3xajrj.

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Case 2:24-cv-00173-Z          Document 31          Filed 10/23/24        Page 18 of 220        PageID 364


         D.      EEOC has failed to undertake the required federalism analysis and performs
                 an impermissible about-face on contrary state policies.

         Executive Order 13,132 requires agencies to consult with state and local officials to minimize
 the intrusive effects of ‘policies’ that have federalism implications.” E.O. 13,132 §3(c). Here, the
 Proposed Guidance contains no such analysis despite its clear implications for federalism. Numerous
 state and local government agencies and departments have 15 or more employees, and therefore are
 directly affected by Title VII. Additionally, a number of States have laws that would be directly
 impacted by the Proposed Guidance.

         For example, Tennessee and other States have laws protecting privacy in sex-segregated
 bathrooms. See, e.g., Tennessee, 615 F. Supp. 3d at 823 n.9 (noting laws in Nebraska, Oklahoma,
 Tennessee, and West Virginia); Ark. Code Ann. § 6-21-120; Idaho Code Ann. § [33-6701]33-6601, et
 seq. Notably, EEOC’s own current regulations recognize and support such laws. See 29 C.F.R.
 §1604.2(b)(5) (“Some States require that separate restrooms be provided for employees of each sex.
 An employer will be deemed to have engaged in an unlawful employment practice if it refuses to hire
 or otherwise adversely affects the employment opportunities of applicants or employees in order to
 avoid the provision of such restrooms for persons of that sex.”). Yet EEOC’s Proposed Guidance
 would override them with a novel take on Title VII preemption.

         Tennessee and other States also have laws prohibiting educators from being compelled to use
 a student’s preferred pronoun inconsistent with the student’s biological sex. E.g., Tenn. Code Ann.
 § 49-6-5102; Ky. Rev. Stat. Ann. § 158.191(5); Ark. Code Ann. § 6-1-108. Compliance with those
 State laws would be considered sexual harassment under the Proposed Guidance.

         The APA required EEOC to consider Tennessee and other States’ “legitimate reliance” on
 their laws protecting sex-segregated-facilities and free speech and their implementation before
 “chang[ing] course[]” from its prior position. Dep’t of Homeland Sec. v. Regents of the Univ. of California,
 140 S. Ct. 1891, 1913 (2020).

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          The undersigned States thank EEOC for considering these concerns. If EEOC insists on
 pursuing its enforcement proposal, it must “make appropriate changes” to the Proposed Guidance,
 Mann Constr., Inc. v. United States, 27 F.4th 1138, 1142 (6th Cir. 2022), to avoid once more imposing
 unlawful gender-identity rules on the nation’s employers. See generally Tennessee, 615 F. Supp. 3d 807.
 Should EEOC decline, Tennessee and the other co-signing States are prepared to pursue appropriate
 legal action to protect their interests, affected employers, and the democratic process.

 Sincerely,




  Jonathan Skrmetti
  Tennessee Attorney General & Reporter


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                                                                                                 App. 016
Case 2:24-cv-00173-Z         Document 31   Filed 10/23/24    Page 19 of 220   PageID 365




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                                            13

                                                                               App. 017
Case 2:24-cv-00173-Z       Document 31   Filed 10/23/24    Page 20 of 220        PageID 366




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                                                                                    App. 018
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 21 of 220   PageID 367
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 22 of 220           PageID 368
                                             of Sexual Harassment (1990); Policy Guidance on
                                             Employer Liability under Title VII for Sexual Favoritism
                                             (1990); Enforcement Guidance on Harris v. Forklift Sys.,
                                             Inc. (1994); and Enforcement Guidance on Vicarious
                                             Employer Liability for Unlawful Harassment by
                                             Supervisors (1999).

                   The contents of this document do not have the force and effect of law and are
                   not meant to bind the public in any way. This document is intended only to
                   provide clarity to the public regarding existing requirements under the law or
                   agency policies.




                                                                                                     Number

                                                            NOTICE
                                                                                                     915.064
                          EEOC
                                                                                                       Date


                                                                                                     4/29/24


               SUBJECT: Enforcement Guidance on Harassment in the Workplace

               PURPOSE: This transmittal issues the Commission’s guidance on harassment in the
               workplace under EEOC enforced laws. It communicates the Commission’s position
               on important legal issues.

               EFFECTIVE DATE: Upon issuance.

               EXPIRATION DATE: This Notice will remain in effect until rescinded or superseded.

               OBSOLETE DATA: This Enforcement Guidance supersedes Compliance Manual
               Section 615: Harassment (1987); Policy Guidance on Current Issues of Sexual
               Harassment (1990); Policy Guidance on Employer Liability under Title VII for Sexual
               Favoritism (1990); Enforcement Guidance on Harris v. Forklift Sys., Inc. (1994); and


                                                                                                                      App. 020
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           2/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 23 of 220           PageID 369
               Enforcement Guidance on Vicarious Employer Liability for Unlawful Harassment by
               Supervisors (1999).

               ORIGINATOR: Office of Legal Counsel




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               TABLE OF CONTENTS

               I. Introduction

                   A. Background

                   B. Structure of this Guidance

               II. Covered Bases and Causation

                   A. Covered Bases

                     1. Race

                     2. Color

                     3. National Origin

                     4. Religion

                     5. Sex

                        a. Harassing Conduct of a Sexualized Nature or Otherwise Based on Sex

                        b. Pregnancy, Childbirth, or Related Medical Conditions Under Title VII


                                                                                                                      App. 021
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           3/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 24 of 220           PageID 370
                        c. Sexual Orientation and Gender Identity

                     6. Age

                     7. Disability

                     8. Genetic Information

                     9. Retaliation

                     10. Cross-Bases Issues

                   B. Establishing Causation

                     1. Generally

                     2. Facially Discriminatory Conduct

                     3. Stereotyping

                     4. Context

                     5. Link Between Conduct That Is Not Explicitly Connected to a Protected
                     Basis
                     and Facially Discriminatory Conduct

                     6. Timing

                     7. Comparative Evidence

                     8. Causation Issues Related to Sex-Based Harassment

               III. Harassment Resulting in Discrimination with Respect
               to a Term, Condition, or Privilege of Employment

                   A. Background: Distinguishing an Explicit Change to the Terms, Conditions,
                   or Privileges of Employment from a Hostile Work Environment

                   B. Hostile Work Environment

                     1. Unwelcomeness

                        a. Conduct That Is Subjectively and Objectively Hostile Is Also
                        Necessarily Unwelcome
                                                                                                                      App. 022
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           4/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 25 of 220           PageID 371
                        b. Derivation of Unwelcomeness Inquiry

                     2. Subjectively Hostile Work Environment

                     3. Objectively Hostile Work Environment

                        a. In General

                        b. Severity

                           i. In General

                           ii. Hostile Work Environment Based on a Single Incident of Harassment

                        c. Pervasiveness

                        d. Context

                   C. The Scope of Hostile Work Environment Claims

                     1. Conduct Must Be Sufficiently Related

                     2. Types of Conduct

                        a. Conduct That Is Not Directed at the Complainant

                        b. Conduct That Occurs in Work-Related Context Outside of Regular Place
                        of Work

                        c. Conduct That Occurs in a Non-Work-Related Context, But with Impact
                        on the Workplace

               IV. Liability

                   A. Overview of Liability Standards in Harassment Cases

                   B. Liability Standard for a Hostile Work Environment Depends on the Role
                   of the Harasser

                     1. Proxy or Alter Ego of the Employer

                     2. Supervisor

                     3. Non-Supervisory Employees, Coworkers, and Non-Employees
                                                                                                                      App. 023
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           5/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 26 of 220           PageID 372
                   C. Applying the Appropriate Standard of Liability in a Hostile Work
                   Environment Case

                     1. Alter Ego or Proxy - Automatic Liability

                     2. Supervisor - Vicarious Liability

                        a. Hostile Work Environment Includes a Tangible Employment Action:
                        No Employer Defense

                        b. Hostile Work Environment Without a Tangible Employment Action:
                        Establishing the Faragher-Ellerth Affirmative Defense

                           i. First Prong of the Affirmative Defense: Employer’s Duty of
                        Reasonable
                        Care

                           ii. Second Prong of the Affirmative Defense: Employee’s Failure
                        to Take Advantage of Preventive or Corrective Opportunities

                               a) Reasonable Delay in Complaining or in Failing to Use the
                        Employer’s
                        Complaint Procedure

                               b) Reasonable Efforts to Avoid Harm Other than by Using
                        the Employer’s Complaint Process

                     3. Non-Supervisory Employees (E.g., Coworkers) and Non-Employees—
                     Negligence

                        a. Unreasonable Failure to Prevent Unlawful Harassment

                        b. Unreasonable Failure to Correct Harassment of Which the Employer
                        Had Notice

                           i. Notice

                           ii. Reasonable Corrective Action

                               a) Prompt and Adequate Investigation

                               b) Appropriate Corrective Action

                                                                                                                      App. 024
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           6/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 27 of 220           PageID 373
                               c) Assessing the Liability of Joint Employers

               V. Systemic Harassment

                   A. Harassment Affecting Multiple Complainants

                   B. Pattern or Practice of Harassment

               VI. Selected EEOC Harassment Resources

               Addendum on Responses to Major Comments




               I. Introduction

                      A. Background

               In 1986, the U.S. Supreme Court held in the landmark case of Meritor Savings Bank,
               FSB v. Vinson[1] that workplace harassment can constitute unlawful discrimination
               under Title VII of the Civil Rights Act of 1964 (Title VII). Decades later, harassing
               conduct remains a serious workplace problem. For the five fiscal years (FY) ending
               with FY 2023, over one third of the charges of employment discrimination received
               by the Equal Employment Opportunity Commission (“the Commission” or “the
               EEOC”) included an allegation of unlawful harassment based on race, sex, disability,
               or another statutorily protected characteristic.[2] The actual cases behind these
               numbers reveal that many people experience harassing conduct at work that may
               be unlawful.3

               This Commission approved enforcement guidance presents a legal analysis of
               standards for harassment and employer liability applicable to claims of harassment
               under the equal employment opportunity (EEO) statutes enforced by the
               Commission, which prohibit work related harassment based on race, color, religion,
               sex (including pregnancy, childbirth, or related medical conditions; sexual
               orientation; and gender identity), national origin, disability, genetic information,
               and age (40 or over).[4] This guidance also consolidates and supersedes several
               earlier EEOC guidance documents: Compliance Manual Section 615: Harassment
               (1987); Policy Guidance on Current Issues of Sexual Harassment (1990); Policy
               Guidance on Employer Liability under Title VII for Sexual Favoritism (1990);

                                                                                                                      App. 025
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           7/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 28 of 220           PageID 374
               Enforcement Guidance on Harris v. Forklift Sys., Inc. (1994); and Enforcement
               Guidance on Vicarious Employer Liability for Unlawful Harassment by Supervisors
               (1999).

               This guidance serves as a resource for employers, employees, and practitioners; for
               EEOC staff and the staff of other agencies that investigate, adjudicate, or litigate
               harassment claims or conduct outreach on the topic of workplace harassment; and
               for courts deciding harassment issues. This document is not intended to be a survey
               of all legal principles that might be appropriate in a particular case.5 The contents of
               this document do not have the force and effect of law, are not meant to bind the
               public in any way,6 and do not obviate the need for the EEOC and its staff to
               consider the facts of each case and applicable legal principles when exercising their
               enforcement discretion. Nothing in this document should be understood to
               prejudge the outcome of a specific set of facts presented in a charge filed with the
               EEOC. In some cases, the application of the EEO statutes enforced by the EEOC may
               implicate other rights or requirements including those under the United States
               Constitution; other federal laws, such as the Religious Freedom Restoration Act
               (RFRA); or sections 702(a) and 703(e)(2) of Title VII.7 The EEOC will consider the
               implication of such rights and requirements on a case by case basis.

                      B. Structure of this Guidance

               In explaining how to evaluate whether harassment violates federal EEO law, this
               enforcement guidance focuses on the three components of a harassment claim.
               Each of these must be satisfied for harassment to be unlawful under federal EEO
               laws.

                      Covered Bases and Causation: Was the harassing conduct based on the
                      individual’s legally protected characteristic under the federal EEO statutes?

                      Discrimination with Respect to a Term, Condition, or Privilege of Employment:
                      Did the harassing conduct constitute or result in discrimination with respect
                      to a term, condition, or privilege of employment?

                      Liability: Is there a basis for holding the employer liable for the conduct?

               This guidance also addresses systemic harassment and provides links to other EEOC
               harassment related resources.8



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https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           8/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 29 of 220           PageID 375
               II. Covered Bases and Causation


                      Harassment must be based on an employee’s legally protected
                      characteristic.




                   Under the first part of a harassment claim, harassment (or harassing conduct) is
               only covered by federal EEO laws if it is based on one (or more) of the individual’s
               characteristics that are protected by these laws. In this document, the terms
               “harassment” and “harassing conduct” are generally used interchangeably. The
               terms refer to conduct that can, but does not necessarily always, constitute or
               contribute to unlawful harassment, including a hostile work environment. Not all
               harassing conduct violates the law, even if it is because of a legally protected
               characteristic. As discussed throughout this guidance, whether specific harassing
               conduct violates the law must be assessed on a case-by-case basis.

               Section II.A of this guidance identifies the legally protected characteristics
               covered by the federal EEO laws enforced by the EEOC.

               Section II.B of this guidance explains how to determine whether harassing conduct
               is because of a legally protected characteristic.

               Taken together, these two sections address whether conduct is based on a
               protected characteristic and, therefore, whether it can contribute to creating a
               hostile work environment. Section II does not address whether such conduct
               reaches the point of creating a hostile work environment. The next section of this
               guidance, section III, discusses how to determine whether harassing conduct rises
               to the level of a hostile work environment.

                        A. Covered Bases

                            1. Race

               Title VII prohibits discrimination, including unlawful harassment, based on race.
               Harassment is based on a complainant’s race if it is because the complainant is

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https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           9/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 30 of 220           PageID 376
               Black, Asian, White, multiracial, or another race. Examples of harassing conduct
               based on race include racial epithets or offensive comments about members of a
               particular race, or harassment based on stereotypes about the complainant’s race.
               [9] It also can include harassment based on traits or characteristics linked to an

               individual’s race, such as the complainant’s name, cultural dress, accent or manner
               of speech, and physical characteristics, including appearance standards (e.g.,
               harassment based on hair textures and hairstyles commonly associated with
               specific racial groups).[10]

                                  Example 1: Race-Based Harassment. Mia, a personal
                                  trainer at a large fitness center chain, is multiracial
                                  (Asian, Black, and Pacific Islander). Some coworkers
                                  refer to Mia using epithets directed at her mixed race
                                  status, including “mutt.” These coworkers also call Mia
                                  slurs based on her separate racial attributes. Other
                                  coworkers make comments that they don’t consider to
                                  be insulting,[11] such as telling Mia how “exotic” she
                                  looks; calling her “cute nicknames,” such as “panda”
                                  and “Moana”; and commenting that Mia inherited the
                                  “best traits,” such as being strong because she is part
                                  Pacific Islander, athletic because she is part Black, and
                                  smart and articulate because she is part Asian. Based
                                  on these facts, the coworkers’ harassing conduct
                                  toward Mia is based on race.

                                  Example 2: Race-Based Harassment. Chelsea, a
                                  hostess at an upscale restaurant, is a Black woman
                                  who wears her hair in locs for both cultural reasons
                                  and to reflect the natural texture of her hair. Chelsea’s
                                  manager, Gregor, periodically tries to touch Chelsea’s
                                  hair while asking questions about it, such as “why does
                                  Black people’s hair look like that?” and “what does it
                                  feel like?” Gregor says that Chelsea could go from
                                  “savage to stunning” if she relaxed her hair. On other
                                  occasions, Gregor criticizes her hair as “messy,”
                                  “untamed,” and “unprofessional.” Based on these
                                  facts, Gregor’s harassing conduct toward Chelsea is
                                  based on her race.
                                                                                                                      App. 028
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           10/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 31 of 220           PageID 377
                            2. Color

               Although sometimes related to harassment based on race or national origin, color-
               based harassment due to an individual’s pigmentation, complexion, or skin shade
               or tone is independently covered by Title VII.12 For example, if a supervisor harasses
               Black employees with darker complexions but does not harass Black employees
               with lighter skin tones, this may be evidence that the harassment was due to color.

                                  Example 3: Color-Based Harassment. Shawn, an
                                  inspector at a medical equipment manufacturing
                                  facility, is a Pakistani American with brown skin. Two of
                                  Shawn’s supervisors make comments to him that
                                  suggest his skin is the color of human feces. Based on
                                  these facts, the supervisors’ harassing conduct toward
                                  Shawn is based on his color.13

                            3. National Origin

               Title VII prohibits employment discrimination, including unlawful harassment,
               based on national origin—meaning discrimination due to a complainant’s, or the
               complainant’s ancestors’, place of origin. Harassment based on national origin
               includes ethnic epithets, derogatory comments about individuals of a particular
               nationality, and use of stereotypes about the complainant’s national origin.14 It also
               can include harassment regarding traits or characteristics linked to an individual’s
               national origin, such as physical characteristics, ancestry, or ethnic or cultural
               characteristics (e.g., attire or diet), and linguistic characteristics (e.g., non-English
               language accent or a lack of fluency in English).15

                                  Example 4: Harassment Based on National Origin.
                                  Antonio is an immigrant from Mexico who works at a
                                  butcher shop. Over the course of several months, his
                                  Mexican American and White managers subject him to
                                  slurs about his Mexican origin such as “wetback” and
                                  other vulgar and derogatory epithets in Spanish. They
                                  also mock and ridicule Antonio’s accent and limited
                                  English proficiency. Based on these facts, the
                                  managers’ harassing conduct toward Antonio is based
                                  on his national origin.

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https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           11/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 32 of 220           PageID 378
                            4. Religion

               Title VII prohibits employment discrimination, including unlawful harassment,
               based on religion. Religion is broadly defined under Title VII.[16] Harassment based
               on religion includes the use of religious epithets or offensive comments based on a
               complainant’s religion (including atheism or lack of religious belief[17]), religious
               practices, or religious dress.18 It also includes harassment based on religious
               stereotypes[19] and harassment because of a request for a religious accommodation
               or receipt of a religious accommodation.[20]

                                  Example 5:21 Religion-Based Harassment. Thiago, a
                                  fraud investigator at a property and casualty insurer, is
                                  agnostic and rejects organized religion. After Thiago’s
                                  sister died unexpectedly, Thiago is despondent. He is
                                  approached by a coworker, Laney, who says that she
                                  can communicate with the dead and has received the
                                  following messages from Thiago’s sister: the sister is
                                  suffering in Hell, and Thiago will go to Hell as well if he
                                  does not “find God.” Thiago becomes upset and asks
                                  Laney to never bring up the topic again. Nevertheless,
                                  Laney repeatedly encourages Thiago to find religion so
                                  Thiago will not “go to Hell like his sister,” despite
                                  Thiago’s ongoing requests for Laney to “drop it.” Based
                                  on these facts, Laney’s harassing conduct toward
                                  Thiago is based on religion.22

                                  Example 6: Harassment Based on Religious
                                  Accommodation. Harpreet is an observant Sikh who,
                                  because of his religious beliefs, does not cut his beard.
                                  He works as an emergency medical technician (EMT)
                                  for an ambulance services provider. Harpreet’s
                                  employer has a policy that requires all EMTs to be able
                                  to wear a tight-fitting respirator, which requires a
                                  clean shaven face where the respirator touches the
                                  skin. When Harpreet’s employer learns that he cannot
                                  meet the respirator requirement due to his beard, the
                                  employer grants Harpreet a religious accommodation
                                  by permitting Harpreet to use a loose fitting powered

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https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           12/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 33 of 220           PageID 379
                                  air purifying respirator (PAPR) instead of a tight-fitting
                                  respirator. Harpreet’s supervisor, Jessie, has expressed
                                  disdain for Harpreet’s accommodation, including by
                                  telling colleagues that PAPRs scare patients and
                                  saying, “Anybody who can’t wear a basic respirator
                                  shouldn’t be working here.” Jessie also refers to
                                  Harpreet as “looking unprofessional” or “shabby.”
                                  Based on these facts, Jessie’s harassing conduct is
                                  targeted at Harpreet’s religious accommodation and
                                  therefore is based on Harpreet’s religion.

               Religious harassment also encompasses explicitly or implicitly coercing employees
               to engage in religious practices at work.23

                                  Example 7: Harassment Based on Religious
                                  Coercion. Sandra, an exterminator for a pest control
                                  service, is a Christian. The owner of the pest control
                                  service, Fabian, is a self described “spiritual guru” who
                                  believes he is called by the universe to help people
                                  transcend the Judeo-Christian belief system. Fabian
                                  regularly makes comments to Sandra denigrating
                                  Judeo Christian tenets; asks Sandra probing questions
                                  about her faith; distributes tracts arguing that
                                  “traditional religion” is the cause of all ills in modern
                                  society; and states a “strong hope” that Sandra will
                                  attend his lunchtime lectures, which consistently focus
                                  on Fabian’s religious beliefs. While Fabian claims he
                                  would never require employees to share his beliefs,
                                  attend his lectures, or read the material he distributes,
                                  he also keeps track of which employees do and do not
                                  participate in his religious activities and tends to act
                                  with favoritism toward employees who agree with or
                                  are receptive to his religious messages. Sandra feels
                                  she must feign interest in Fabian’s beliefs or else she
                                  will be subject to ostracism or possibly even
                                  termination. Based on these facts, Fabian’s harassing
                                  conduct toward Sandra is based on religion.24


                                                                                                                      App. 031
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           13/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 34 of 220           PageID 380
                            5. Sex

               Title VII prohibits employment discrimination, including unlawful harassment
               based on sex. Under Title VII, “sex” includes “pregnancy, childbirth, and related
               medical conditions” and sexual orientation and gender identity, as discussed in this
               section.

                               a. Harassing Conduct of a Sexualized Nature or Otherwise Based on Sex


               Harassing conduct based on sex includes conduct of a sexualized nature, such as
               unwanted conduct expressing sexual attraction or involving sexual activity (e.g.,
               “sexual conduct”); sexual attention or sexual coercion, such as demands or pressure
               for sexual favors; rape, sexual assault, or other acts of sexual violence; or discussing
               or displaying visual depictions of sex acts or sexual remarks.25

               Harassment based on sex under Title VII26 also includes non-sexual conduct based
               on sex,27 such as sex based epithets; sexist comments (such as remarks that women
               do not belong in management or that men do not belong in the nursing profession);
               or facially sex-neutral offensive conduct motivated by sex (such as bullying directed
               toward employees of one sex).28

                                  Example 8: Sex-Based Harassment. John, an
                                  employee in a supermarket bakery department, works
                                  with a coworker, Laverne, who rubs up against him in a
                                  sexual manner, tells sexual jokes, and displays dolls
                                  made from dough in sexual positions. Based on these
                                  facts, Laverne’s harassing conduct toward John is
                                  based on his sex.

                                  Example 9: Sex-Based Harassment. Aiko, a
                                  construction worker on a road crew, is subjected to
                                  sex-based epithets and other demeaning sex-based
                                  language by her supervisor, such as “sandwich maker”
                                  and “baby.” This supervisor also disparages women’s
                                  participation in the construction industry, for example
                                  by stating that road construction is “a man’s job.”
                                  Based on these facts, the supervisor’s harassing
                                  conduct toward Aiko is based on sex.


                                                                                                                      App. 032
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           14/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 35 of 220           PageID 381
                                  Example 10: Sex-Based Harassment. Ferguson, a
                                  millwright at a cabinet manufacturer, has just returned
                                  from a short period of medical leave taken to recover
                                  from a vasectomy. Immediately upon his return, some
                                  of Ferguson’s coworkers repeatedly ridicule Ferguson
                                  for the vasectomy, calling him “gelding,” “eunuch,” and
                                  “numb nuts,” and saying things such as “why did you
                                  neuter yourself like a dog?” and “a real man would
                                  never get a vasectomy.” Based on these facts, the
                                  coworkers’ harassing conduct toward Ferguson is
                                  based on sex.

                               b. Pregnancy, Childbirth, or Related Medical Conditions Under Title VII[29]


               Sex-based harassment under Title VII includes harassment based on pregnancy,[30]
               childbirth, or related medical conditions.31 This can include issues such as lactation;
               [32]
                   using or not using contraception;[33] or deciding to have, or not to have, an
               abortion.[34] Harassment based on these issues generally would be covered if it is
               linked to a targeted individual’s sex including pregnancy, childbirth, or related
               medical conditions.

                                  Example 11: Pregnancy-Based Harassment. Kendall,
                                  a veterinary assistant at a nationwide veterinary clinic
                                  chain, recently announced to coworkers that she is
                                  pregnant. After Kendall’s announcement, one of her
                                  supervisors, Veronica, begins berating Kendall’s work
                                  as slow, shoddy, and scatter-brained, and accuses
                                  Kendall of focusing more on getting ready for her new
                                  baby than doing her job. Veronica also begins to
                                  scrutinize Kendall’s bathroom usage and, on at least
                                  one occasion, yelled at Kendall for “always” being in
                                  the bathroom. As Kendall’s pregnancy progresses,
                                  Veronica refers to Kendall as a “heifer,” and makes the
                                  comment, “We don’t treat livestock at this office.”
                                  Based on these facts, Veronica’s harassing conduct
                                  toward Kendall is based on sex (pregnancy).



                                                                                                                      App. 033
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           15/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 36 of 220           PageID 382
                                  Example 12: Harassment Based on Pregnancy-
                                  Related Medical Condition (Lactation). Lisbet, a
                                  software engineer for a video game publisher, recently
                                  returned to work after giving birth. Lisbet uses a
                                  lactation room at work as needed in order to express
                                  breastmilk. Lisbet’s coworker, Nathaniel, knocks loudly
                                  on the lactation room door while Lisbet is inside and
                                  pretends that he is going to enter. Nathaniel also refers
                                  to Lisbet’s breasts as “milk jugs,” makes suckling
                                  noises when Lisbet enters and exits the lactation room,
                                  and asks Lisbet if he can have a squirt of milk for his
                                  coffee.35 Nathaniel also refers to the lactation room as
                                  “Lisbet’s getaway” and asks why he is not allowed to
                                  take breaks in private rooms. Based on these facts,
                                  Nathaniel’s harassing conduct toward Lisbet is based
                                  on a pregnancy related medical condition (lactation).

                                  Example 13: Harassment Based on Pregnancy-
                                  Related Medical Condition (Morning Sickness).
                                  Kristina, a graphic designer at a marketing firm, is
                                  experiencing pregnancy-related morning sickness.
                                  Kristina’s employer accommodates her limitations due
                                  to morning sickness by permitting Kristina to telework
                                  up to three days per week and utilize flexible
                                  scheduling on the days she comes into the office.
                                  Kristina’s colleagues complain that pregnant women
                                  always get special perks and privileges and accuse
                                  Kristina of getting pregnant “just so she can kick back,
                                  relax at home on the couch, and collect a paycheck.”
                                  During a team meeting to discuss staffing a new, high
                                  priority portfolio, when Kristina requests to be
                                  considered, her coworkers scoff that “if Kristina is so
                                  sick that she cannot come into the office, how can she
                                  be well enough to work on such an important
                                  account?” Based on these facts, the coworkers’
                                  harassing conduct toward Kristina is based on a
                                  pregnancy related medical condition (morning
                                  sickness).
                                                                                                                      App. 034
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           16/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 37 of 220           PageID 383
                               c. Sexual Orientation and Gender Identity


               Sex based discrimination under Title VII includes employment discrimination based
               on sexual orientation or gender identity.36 Accordingly, sex-based harassment
               includes harassment based on sexual orientation or gender identity, including how
               that identity is expressed.37 Harassing conduct based on sexual orientation or
               gender identity includes epithets regarding sexual orientation or gender identity;38
               physical assault due to sexual orientation or gender identity;39 outing (disclosure of
               an individual’s sexual orientation or gender identity without permission);40
               harassing conduct because an individual does not present in a manner that would
               stereotypically be associated with that person’s sex;41 repeated and intentional use
               of a name or pronoun inconsistent with the individual’s known gender identity
               (misgendering);[42] or the denial of access to a bathroom or other sex segregated
               facility consistent with the individual’s gender identity.43

                                  Example 14: Harassment Based on Sexual
                                  Orientation. Heidi, a staff journalist at a media
                                  conglomerate, recently attended a company award
                                  ceremony with her wife, Naomi. After the ceremony,
                                  one of Heidi’s coworkers, Trevor, approaches Heidi and
                                  says, “I did not know you were a d*ke, that’s so hot.”
                                  Trevor asks Heidi questions such as, “because you are
                                  both girly girls, who is the man in your marriage?” and
                                  “who wears the pants at home?”44 Trevor also
                                  repeatedly sends the scissor emoji and images of
                                  scissors to Heidi, which Trevor intends as a euphemism
                                  for Heidi having sex with her wife. Based on these facts,
                                  Trevor’s harassing conduct toward Heidi is based on
                                  her sexual orientation.

                                  Example 15: Harassment Based on Gender Identity.
                                  Chloe, a purchase order coordinator at a retail store
                                  warehouse, is approached by her supervisor, Alton,
                                  who asks whether she was “born a man” because he
                                  had heard a rumor that “there was a transvestite in the
                                  department.” Chloe disclosed to Alton that she is
                                  transgender and asked him to keep this information
                                  confidential. After this conversation, Alton instructed

                                                                                                                      App. 035
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           17/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 38 of 220           PageID 384
                                  Chloe to wear pants to work because a dress would be
                                  “inappropriate,” despite other purchase order
                                  coordinators being permitted to wear dresses and
                                  skirts. Alton also asks inappropriate questions about
                                  Chloe’s anatomy and sexual relationships. Further,
                                  whenever Alton is frustrated with Chloe, he misgenders
                                  her by using, with emphasis, “he/him” pronouns,
                                  sometimes in front of Chloe’s coworkers. Based on
                                  these facts, Alton’s harassing conduct toward Chloe is
                                  based on her gender identity.45

                            6. Age

               The Age Discrimination in Employment Act (ADEA)46 prohibits age based
               discrimination, including unlawful harassment, of employees forty or older because
               of their age.47 This includes harassment based on negative perceptions about older
               workers.48 It also includes harassment based on stereotypes about older workers,
               even if they are not motivated by animus, such as pressuring an older employee to
               transfer to a job that is less technology-focused because of the perception that
               older workers are not well suited to such work or encouraging an older employee to
               retire.49

                                  Example 16: Age-Based Harassment. Lulu, age sixty
                                  eight, is a makeup artist and salesperson at a
                                  department store. Lulu’s manager repeatedly asks Lulu
                                  about her retirement plans, despite Lulu expressing
                                  that she has no interest in retiring. Lulu’s manager also
                                  tells her that the brand needs “fresh faces” and “high
                                  energy.” When Lulu makes even a minor mistake, her
                                  manager disparages Lulu for having “senior moments.”
                                  Further, on one occasion, the manager snapped at
                                  Lulu, “Nobody wants makeup advice from their
                                  granny.” Based on these facts, the manager’s harassing
                                  conduct toward Lulu is based on her age.




                                                                                                                      App. 036
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           18/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 39 of 220           PageID 385
                            7. Disability50

               Title I of the Americans with Disabilities Act (ADA)51 prohibits employment
               discrimination, including unlawful harassment, based on an individual’s physical or
               mental disability,[52] including harassment based on stereotypes about individuals
               with disabilities in general or about an individual’s particular disability. It also can
               include harassment based on traits or characteristics linked to an individual’s
               disability, such as how an individual speaks, looks, or moves.[53]

                                  Example 17: Disability-Based Harassment. Abdul, a
                                  financial advisor at a private wealth management firm,
                                  has a pronounced stutter resulting from anxiety.
                                  Abdul’s coworkers mockingly imitate his stutter54 and
                                  ask Abdul to repeat himself, even though the
                                  coworkers understood what Abdul said. Based on
                                  these facts, the coworkers’ harassing conduct toward
                                  Abdul is based on disability.

               Disability-based harassment also includes:

                      Harassment because of an individual’s request for, or receipt of, reasonable
                      accommodation;[55]

                                          Example 18: Harassment Based on Disability
                                          Accommodation. Charlie, a seasonal cashier at a
                                          garden supply store, has psoriatic arthritis, which
                                          affects his knees and ankles and makes standing
                                          for prolonged periods of time painful. Charlie’s
                                          employer has a rule that prohibits cashiers from
                                          using fatigue standing mats or chairs while at the
                                          cash register, but grants Charlie a reasonable
                                          accommodation under the ADA to use a mat or
                                          chair as needed. Charlie’s coworkers berate him
                                          for getting “special treatment.” They also hide
                                          Charlie’s mat and chair, which prevents Charlie
                                          from starting his work on time, because it’s
                                          “unfair” that he gets to be “more comfortable”
                                          than them. Based on these facts, the coworkers’
                                          harassing conduct toward Charlie is based on
                                                                                                                      App. 037
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           19/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 40 of 220           PageID 386
                                          disability (receipt of a reasonable
                                          accommodation).

                      harassment because an individual is regarded as having an impairment, even
                      if the individual does not have an actual disability, or a record of disability,
                      under the ADA;56

                      harassment because an individual has a record of a disability, even if the
                      individual currently does not have a disability;57 and

                      harassment based on the disability of an individual with whom they are
                      associated.58

                                          Example 19: Harassment Based on Disability of
                                          Person with Whom the Employee Is
                                          Associated. Karl’s husband, Jamal, has long
                                          COVID that meets the ADA’s definition of
                                          disability. Karl’s employer, a business consulting
                                          firm, has a policy that allows employees to
                                          telework three days each week. One of Karl’s
                                          coworkers, Lenny, posts a statement on the
                                          shared team communication platform that reads
                                          in part, “Keep Karl Home Every Day! If Karl’s
                                          husband is so sick, then Karl needs to stay at
                                          home, otherwise he is going to infect us all!” Karl
                                          periodically uses his accrued paid time off to take
                                          Jamal to doctor’s appointments, which often
                                          coincide with team meetings. Sometimes during
                                          these meetings, a different coworker, Barry,
                                          questions Karl’s professional competence and
                                          dedication given his recent focus on taking care
                                          of Jamal, stating that Karl seems more interested
                                          in helping Jamal “get over a cold” than doing his
                                          job. Based on these facts, Lenny’s and Barry’s
                                          harassing conduct toward Karl is based on
                                          disability (association with a person with a
                                          disability).



                                                                                                                      App. 038
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           20/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 41 of 220           PageID 387
                            8. Genetic Information59

               The Genetic Information Nondiscrimination Act (GINA)60 prohibits employment
               discrimination, including unlawful harassment, on the basis of genetic information,
               which includes harassment based on an individual’s, or an individual’s family
               member’s, genetic test or on the basis of an individual’s family medical history.61
               For example, harassment based on genetic information includes harassing an
               employee because the employee carries the BRCA gene, which is linked to an
               increased risk of breast and ovarian cancer, or because the employee’s mother
               recently experienced a severe case of norovirus, which resulted in overnight
               hospitalization.62

                                  Example 20: Harassment Based on Genetic
                                  Information. Manuella, a web developer at a
                                  university, joined in on a lively conversation between
                                  coworkers who recently used DNA ancestry testing to
                                  learn more about their extended families. Some
                                  mentioned finding unknown cousins, and others said
                                  that they had extended family from countries that
                                  surprised them. Manuella, taking part in the
                                  conversation, mentioned that although she had not
                                  taken a DNA ancestry test, a cousin recently took a
                                  genetic test that revealed that they had inherited the
                                  gene mutation that would put them at a higher risk of
                                  developing Hypertrichosis, a condition also known as
                                  Werewolf Syndrome. Soon after this discussion,
                                  coworkers began to refer to Manuella as “the
                                  werewoman,” to make howling noises when they
                                  passed her office, and to leave dog treats on her desk.
                                  Based on these facts, the coworkers’ harassing conduct
                                  toward Manuella is based on her genetic information.

                            9. Retaliation

               The EEO statutes prohibit employers from retaliating against employees and
               applicants for employment because of their “protected activity” opposing an
               employer’s unlawful discrimination under the EEO statutes or participating in an
               investigation, hearing, or proceeding under the EEO statutes.63
                                                                                                                      App. 039
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           21/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 42 of 220           PageID 388
               Sometimes, retaliatory conduct is characterized as “retaliatory harassment.” The
               threshold for establishing unlawful retaliatory harassment is different than that for a
               discriminatory hostile work environment. As the Supreme Court explained in
               Burlington Northern & Santa Fe Railway Co. v. White, the EEO laws’ antiretaliation
               provisions complement their antidiscrimination provisions but protect against a
               broader range of behaviors they forbid anything that might deter a reasonable
               person from engaging in protected activity.[64] Thus, retaliatory harassing conduct
               can be challenged under the Burlington Northern standard even if it is not
               sufficiently severe or pervasive to alter the terms and conditions of employment by
               creating a hostile work environment.[65]

               If an employee has been subjected both to harassment based on race, sex, or
               another protected characteristic and to retaliation, then the legal standard or
               standards that apply to particular harassing conduct will depend on whether the
               conduct is being challenged as part of a harassment claim, a retaliation claim, or
               both.

               For a more detailed discussion of retaliation, see EEOC, Enforcement Guidance on
               Retaliation and Related Issues (2016),
               https://www.eeoc.gov/laws/guidance/enforcement-guidance-retaliation-and-
               related-issues (https://www.eeoc.gov/laws/guidance/enforcement-guidance-
               retaliation-and-related-issues) .

                            10. Cross-Bases Issues

               Discussed below are some issues that apply to all of the covered bases.

               Harassment based on the perception that an individual has a particular protected
               characteristic for example, the belief that a person has a particular national origin,
               religion, or sexual orientation—is covered by federal EEO law even if the perception
               is incorrect.[66] Thus, harassment of a Hispanic person because the harasser
               believes the individual is Pakistani is national origin based harassment, and
               harassment of a Sikh man wearing a turban because the harasser thinks he is
               Muslim is religious harassment, even if the perception in both instances is incorrect.

               The EEO laws also cover “associational discrimination.” This includes harassment
               because the complainant associates with someone in a different protected class67
               or harassment because the complainant associates with someone in the same
               protected class.68 For example, the EEO laws apply to harassment of a White
                                                                                                                      App. 040
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           22/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 43 of 220           PageID 389
               employee because his spouse is Black69 or harassment of a Black employee
               because she has a biracial child.70 Although the association often involves a close
               relationship, such as with a close relative or friend, the degree of closeness is
               irrelevant to whether the association is covered.[71]

               Harassment that is based on the complainant’s protected characteristic is covered
               even if the harasser is a member of the same protected class (intraclass
               harassment).[72]

                                  Example 21: Intraclass Harassment Based on Age.
                                  Pedro, age sixty five, is a salesperson at a furniture
                                  store. Pedro’s supervisor, Simon, age fifty two, has
                                  recently become dismissive of Pedro. After Pedro asks
                                  to use some personal leave, Simon denies Pedro’s
                                  request, stating, “You old motherf**ker, you are not
                                  taking a day off.” After that, Simon stops referring to
                                  Pedro by name, and instead calls him “old man” and
                                  “pops.”73 Simon also refers to Pedro as “over the hill.”
                                  Based on these facts, Simon’s harassing conduct
                                  toward Pedro is based on Pedro’s age even though
                                  Simon also is within the ADEA’s protected class (40 or
                                  older).

                                  Example 22: Intraclass Harassment Based on
                                  National Origin. Mei, a flight attendant at a global
                                  airline, is of Chinese ancestry. Her supervisor, Hua, is
                                  also of Chinese ancestry. Hua frequently berates Mei
                                  for not living up to Hua’s conception of an ideal
                                  Chinese worker. For example, Hua calls Mei lazy,
                                  useless, and spoiled; says that Mei’s ancestors would
                                  be ashamed of her; and says that Mei “wouldn’t last a
                                  day in China.” Hua also says Mei should be proud to
                                  come from such an industrious and responsible
                                  culture, and that Mei “might as well be Caucasian”
                                  based on her mediocre performance. Based on these
                                  facts, Hua’s harassing conduct toward Mei is based on
                                  Mei’s national origin even though they are both of
                                  Chinese ancestry.74

                                                                                                                      App. 041
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           23/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 44 of 220           PageID 390
                                  Example 23: Intraclass Harassment Based on Sex.
                                  Dara and Sloane are lab technicians at a
                                  pharmaceutical research laboratory. On multiple
                                  occasions, one of their coworkers, Rose, makes
                                  dismissive comments to Dara, who has three children,
                                  such as, “shouldn’t mothers stay at home with their
                                  kids?” and “don’t expect to move up the career ladder
                                  with all of those children.” Rose also makes dismissive
                                  comments to Sloane, who has no children and intends
                                  to remain childfree, on a handful of occasions, such as,
                                  “women who don’t want children are frigid,” “it is sad
                                  to watch you choose a career over a family,” and “are
                                  you sure you don’t want a baby? Every woman should
                                  want a baby!” Based on these facts, Rose’s harassing
                                  conduct toward Dara and Sloane is based on their sex
                                  even though they all are women.

               Harassment may be based on more than one protected characteristic of an
               employee, either under a single EEO statute, such as Title VII, or under multiple EEO
               statutes, such as Title VII and the ADEA. For example, a Black woman might be
               harassed both because she is Black and because she is a woman, or alternatively,
               because she is a Black woman. This last example is sometimes referred to as
               intersectional harassment, or harassment based on the intersection of two or more
               protected characteristics, which may, in fact, compound the harm.[75] If a Black
               woman is harassed based on stereotypes about Black women, such harassment is
               covered as both race and sex discrimination. Similarly, if a woman who is age forty
               or older is harassed based on stereotypes about older women, this harassment is
               covered as both age and sex discrimination.76

                                  Example 24: Intersectional Harassment Based on
                                  Age and Sex. Janet, age fifty-one, works as a sales
                                  associate for a pet supplies store. One day at work,
                                  Janet quickly removed her jacket and began fanning
                                  herself. An assistant manager, Truman, stated when he
                                  observed her behavior, “Oh, you’re having a hot flash!
                                  You must be menopausal.” Truman then added, “You
                                  know your husband will start looking for younger
                                  women.” Janet covered her ears and said, “I don’t want
                                                                                                                      App. 042
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           24/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 45 of 220           PageID 391
                                  to hear you talking about any of this.” On another
                                  occasion when Janet mixed up a customer order,
                                  Truman yelled at her and asked if the mistake was
                                  because she was having a “menopausal moment” or
                                  because she was just getting too old to get the orders
                                  right. Janet was visibly flustered by his yelling, which
                                  prompted Truman to add, “Don’t get so emotional.
                                  Isn’t there something you can take for your
                                  hormones?” Based on these facts, Truman’s harassing
                                  conduct toward Janet is based on her status as an
                                  older woman.

               Harassment based on one protected characteristic, such as national origin, also may
               overlap with harassment based on another characteristic, such as religion, because
               of the close association (actual or perceived) between two protected groups. For
               example, harassment against an individual who is Middle Eastern and Muslim may
               be based on both national origin and religion.[77]

               Harassment based on protected characteristics includes harassment based on
               social or cultural stereotypes regarding how persons of a particular protected group,
               such as persons of a particular race, national origin, or sex, may act, appear, or
               behave.[78] This includes, but is not limited to, harassment based on stereotypes
               about racial, ethnic, or other protected characteristics, or sex-based stereotypes
               about family responsibilities,[79] suitability for leadership,[80] or gender roles.81

                                  Example 25: Harassment Based on Stereotype
                                  About Race. Sydney, who is Black, is a sales associate
                                  at a jewelry store. One of Sydney’s coworkers,
                                  Mackenzie, repeatedly admonishes Sydney not to steal
                                  anything from the store.82 Mackenzie frequently brings
                                  up news stories and social media videos depicting
                                  Black people engaging in theft, and suggests that all
                                  Black people, including Sydney, have a propensity to
                                  steal. Based on these facts, Mackenzie’s harassing
                                  conduct toward Sydney is based on race.

                                  Example 26: Harassment Based on Stereotypes
                                  About National Origin. Mirlande, a Haitian American,
                                  is an esthetician at a luxury resort and spa. One of
                                                                                                                      App. 043
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           25/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 46 of 220           PageID 392
                                  Mirlande’s coworkers, Celine, believes that all Haitians
                                  practice voodoo and, based on this cultural
                                  assumption about Haitians, repeatedly makes voodoo
                                  related remarks, such as that Mirlande will curse staff
                                  members and clients, knows a witch doctor, and has
                                  voodoo dolls at home. Based on these facts, Celine’s
                                  harassing conduct toward Mirlande is based on
                                  national origin.

               As discussed below in section II.B, harassing conduct need not explicitly refer to a
               protected characteristic to be based on that characteristic where there is other
               evidence establishing causation.

                      B. Establishing Causation

                            1. Generally

               Causation is established if the evidence shows that the complainant was subjected
               to harassment because of the complainant’s protected characteristic, whether or
               not the harasser explicitly refers to that characteristic or targets a particular
               employee.[83] If an employee experiences harassment in the workplace but the
               evidence does not show that the harassment was based on a protected
               characteristic, the EEO statutes do not apply.[84]

                                  Example 27: Insufficient Evidence That Harassment
                                  Was Based on a Protected Characteristic. Isaiah, a
                                  customer service representative at a financial services
                                  firm, alleges he was subjected to harassment based on
                                  his national origin and color by his coworker, Zach.
                                  Isaiah asserts that last winter Zach became
                                  increasingly hostile and rude, throwing paper at Isaiah,
                                  shoving him in the hall, and threatening to physically
                                  harm him. Zach’s misconduct started shortly after a
                                  disagreement during a league basketball game during
                                  which Isaiah, captain of the firm’s basketball team,
                                  benched Zach. No evidence was found during the
                                  investigation to link Zach’s threats and harassment to
                                  Isaiah’s national origin or color; therefore, Isaiah

                                                                                                                      App. 044
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           26/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 47 of 220           PageID 393
                                  cannot establish that Zach’s misconduct subjected him
                                  to harassment because of a protected characteristic.85

                                  Example 28: Sufficient Evidence That Harassment
                                  Was Based on a Protected Characteristic. Julius, who
                                  is Black, works on a line operation crew for a
                                  pharmaceutical manufacturer. All line crew members
                                  are Black, and they are supervised by Murphy, who is
                                  White. Murphy frequently refers to himself as a
                                  “zookeeper” and to the crew, including Julius, as “my
                                  animals.” Murphy does not refer to members of other
                                  line crews, which are comprised of non Black
                                  employees, as “animals”; likewise, Murphy does not
                                  refer to supervisors of those other line crews as
                                  “zookeepers.” Following an investigation, evidence
                                  shows that Murphy calls Julius and crew members
                                  “animals” because of their race, even though Murphy
                                  does not directly refer to race. Based on these facts,
                                  Julius can establish that Murphy subjected him to
                                  harassment because of race, a protected
                                  characteristic.86

               The determination of whether hostile-work-environment harassment is based on a
               protected characteristic will depend on the totality of the circumstances.87 Although
               causation must be evaluated based on the specific facts in a case, the principles
               discussed below will generally apply in determining causation. Not all principles will
               necessarily apply in every case.

                            2. Facially Discriminatory[88] Conduct

               Conduct that explicitly insults or threatens an individual based on a protected
               characteristic such as racial epithets or graffiti, sex based epithets, offensive
               comments about an individual’s disability, or targeted physical assaults based on a
               protected characteristic—discriminates on that basis.[89] The motive of the
               individual engaging in such conduct is not relevant to whether the conduct is
               facially discriminatory. Such conduct also need not be directed at a particular
               worker based on that worker’s protected characteristic, nor must all workers with
               the protected characteristic be exposed to the conduct. For example, degrading

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https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           27/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 48 of 220           PageID 394
               workplace comments about women in general, even if they are not related to a
               specific female employee, show anti female animus on their face, so no other
               evidence is needed to show that the comments are based on sex.[90] Further,
               derogatory comments about women are sex-based even if all employees are
               exposed to the comments.91

                                  Example 29: Causation Established Where
                                  Harassment Is Facially Discriminatory. Kiran, an
                                  archivist at a non profit foundation, is an individual
                                  with a neuropathic condition that causes his muscles
                                  to atrophy and degenerate. As a result of his condition,
                                  Kiran walks with a limp and must wear leg braces. On a
                                  near daily basis his coworkers make fun of his limp and
                                  leg braces by mimicking his gait and calling him names
                                  like “Forrest Gump” and “cr*pple.” Based on these
                                  facts, Kiran has been subjected to harassment based
                                  on disability that is facially discriminatory.92

                            3. Stereotyping

               Harassment is based on a protected characteristic if it is based on social or cultural
               expectations—be they intended as positive, negative, or neutral—regarding how
               persons of a particular protected group may act or appear.[93] This includes
               harassment based on sex-based assumptions about family responsibilities,[94]
               suitability for leadership,[95] gender roles,96 weight and body types,97 the
               expression of sexual orientation or gender identity,98 or being a survivor of gender
               based violence. Similarly, harassment based on race includes derogatory comments
               involving racial stereotypes, such as referring to Black employees as drug dealers99
               or suggesting that Black employees have the propensity to commit theft.100

               Such stereotyping need not be motivated by animus or hostility toward that group.
               [101] For example, age based harassment might include comments that an older

               employee should consider retirement so that the employee can enjoy the “golden
               years.”[102] Likewise, sex-based harassment might include comments that a female
               worker with young children should switch to a part-time schedule so that she can
               spend more time with her children.103




                                                                                                                      App. 046
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5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 49 of 220           PageID 395
                                  Example 30: Causation Established Based on Sex
                                  Stereotyping. After Eric, an iron worker, made a
                                  remark that his foreman, Josh, considered “feminine,”
                                  Josh began calling Eric “Erica,” “princess,” and
                                  “f*ggot.” Several times a week, Josh approached Eric
                                  from behind and simulated intercourse with him. More
                                  than once, Josh exposed himself to Eric. Based on
                                  these facts, Josh targeted Eric based on his perception
                                  that Eric did not conform to traditional male
                                  stereotypes and subjected Eric to harassment based on
                                  sex.104

                                  Example 31: Causation Established Based on Sex
                                  Stereotyping. Maria, a receptionist, has recently
                                  experienced domestic violence. Because Maria must
                                  attend court dates related to the domestic violence,
                                  she discloses her situation to her supervisor, Nolan.
                                  Nolan warns Maria that she should not take “too
                                  much” leave and should not bring “drama” into the
                                  workplace because “women can be histrionic and
                                  unreliable.” Nolan also comments that “women think
                                  everything is domestic violence” and that “a good wife
                                  doesn’t have to worry about anything in her marriage.”
                                  Nolan begins to criticize Maria’s decision-making skills,
                                  stating that Maria can’t be relied on to make good
                                  choices because she can’t even manage her personal
                                  problems. Based on these facts, Nolan targeted Maria
                                  based on his sex-based perception of victims of
                                  gender based violence and subjected Maria to
                                  harassment based on sex.

                            4. Context

               Conduct must be evaluated within the context in which it arises.105 In some cases,
               the discriminatory character of conduct that is not facially discriminatory becomes
               clear when examined within the specific context in which the conduct takes place or
               within a larger social context. For example, the Supreme Court observed that use of
               the term “boy” to refer to a Black man may reflect racial animus depending on such
                                                                                                                      App. 047
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           29/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 50 of 220           PageID 396
               factors as “context, inflection, tone of voice, local custom, and historical usage.”[106]
               In some contexts, terms that may not be facially discriminatory when viewed in
               isolation, such as “you people,” may operate as “code words” that contribute to a
               hostile work environment based on a protected characteristic.[107]

                                  Example 32: Causation Established by Social
                                  Context. Ron, a Black truck driver, finds banana peels
                                  on his truck on multiple occasions. After the third of
                                  these occasions, Ron sees two White coworkers
                                  watching his reaction to the banana peels. There is no
                                  evidence that banana peels were found on any other
                                  truck or that Ron found any trash on his truck besides
                                  the banana peels. Based on these facts, the
                                  appearance of banana peels on Ron’s truck is likely not
                                  coincidental. Further, because banana peels are used
                                  to invoke “monkey imagery,” it would be reasonable to
                                  conclude, given the history of racial stereotypes
                                  against Black individuals, that the banana peels were
                                  intended as a racial insult. Therefore, the conduct
                                  under these circumstances constitutes harassment
                                  based on race.[108]

                            5. Link Between Conduct That Is Not Explicitly Connected to a
                            Protected Basis and Facially Discriminatory Conduct

               Conduct that is neutral on its face may be linked to other conduct that is facially
               discriminatory, such as race based epithets or derogatory comments about
               individuals with disabilities. Facially neutral conduct therefore should not be
               separated from facially discriminatory conduct and then discounted as non-
               discriminatory.[109] In some instances, however, facially discriminatory conduct may
               not be sufficiently related to facially neutral conduct to establish that the latter also
               was discriminatory.[110]

                                  Example 33: Facially Neutral Conduct Sufficiently
                                  Related to Religious Bias. Imani, a devout Christian
                                  employed as a customer service representative, alleges
                                  that coworkers made offensive comments or engaged
                                  in other hostile conduct related to her religious beliefs

                                                                                                                      App. 048
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           30/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 51 of 220           PageID 397
                                  and practices, including suggesting that Imani
                                  belonged to a cult; calling her religious beliefs “crazy”;
                                  drawing devil horns, a devil tail, and a pitchfork on her
                                  Christmas photo; and cursing the Bible and teasing her
                                  about Bible reading. In addition, the same coworkers
                                  excluded Imani from office parties and subjected her to
                                  curse words that the coworkers knew Imani regarded
                                  as offensive because of her religion. Although some of
                                  the coworkers’ conduct was facially neutral with
                                  respect to religion, that conduct was closely related to
                                  the religious harassment and thus the entire pattern of
                                  harassment was based on Imani’s religion.[111]

                            6. Timing

               If harassment began or escalated shortly after the harasser learned of the
               complainant’s protected status, including religion, pregnancy, sexual orientation, or
               gender identity, the timing may suggest that the harassment was discriminatory.
               [112]


                                  Example 34: Timing as Evidence of Causation. Sami,
                                  a security guard at an electronics store, discloses his
                                  Egyptian ancestry to coworkers during a conversation
                                  about turmoil in the Middle East. Following this
                                  disclosure, Sami’s colleagues, who had made offensive
                                  comments about Middle Eastern people during the
                                  conversation, begin to avoid and ostracize him.
                                  Approximately one week after Sami disclosed his
                                  national origin, Sami arrives late for his shift, and a
                                  coworker asks, “Did your camel break down?” Another
                                  coworker begins to hum the Bangles’ “Walk Like an
                                  Egyptian” and mime the music video’s dance moves
                                  when Sami walks by. The timing of the coworkers’
                                  conduct, in addition to the content of the conduct,
                                  provides evidence that Sami has been subjected to
                                  discrimination based on national origin.



                                                                                                                      App. 049
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           31/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 52 of 220           PageID 398
                            7. Comparative Evidence

               Evidence showing qualitative and/or quantitative differences in the conduct
               directed against individuals in different groups can support an inference that the
               harassment of workers subjected to more, or more severe, harassment was based
               on their protected status.[113]

                                  Example 35: Comparative Evidence Gives Rise to
                                  Inference that Harassment Is Based on a Protected
                                  Characteristic. Tyler is a manager for an educational
                                  services firm. Tyler directly supervises two women,
                                  Kailey and Anu, and two men, Sandeep and Levi. Tyler
                                  regularly hovers over Kailey and Anu as they work to
                                  make sure they don’t “mess up.” Tyler yells and shakes
                                  his fist at Kailey and Anu when he is angry at them. In
                                  addition, although Tyler is occasionally irritable, he
                                  generally engages in friendly banter with Sandeep and
                                  Levi that is different from the aggressiveness that he
                                  displays toward female employees. Tyler sometimes
                                  even allows Sandeep and Levi to relax in his office in
                                  the afternoons, doing little or no work. Tyler permits
                                  Sandeep and Levi to leave the office early on Fridays
                                  and does not monitor their work performance. Tyler’s
                                  different treatment of women and men who are
                                  similarly situated would support the conclusion that
                                  Tyler’s treatment of Kailey and Anu was based on their
                                  sex.114

                            8. Causation Issues Related to Sex-Based Harassment

               A claim of sex-based harassment may rely on any of the causation theories
               described in the preceding sections and in this document. The Supreme Court has
               addressed three non-exclusive evidentiary routes for establishing causation in a sex-
               based harassment claim: (1) explicit or implicit proposals of sexual activity; (2)
               general hostility toward members of the complainant’s sex; and (3) comparative
               evidence showing how the harasser treated persons who shared the complainant’s
               sex compared to the harasser’s treatment of those who did not.115 As noted, these
               three routes are not exclusive; they are examples of ways in which it may be
                                                                                                                      App. 050
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           32/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 53 of 220           PageID 399
               established that harassment is based on sex.116 For example, harassment is sex-
               based if it occurs because of sex stereotyping117 or if members of one sex are
               routinely sexualized.


               III. Harassment Resulting in Discrimination with
               Respect to a Term, Condition, or Privilege of
               Employment
               For workplace harassment to violate the law, not only must it be based on a
               protected characteristic, as discussed in the preceding section, it also must affect a
               “term, condition, or privilege” of employment.118

                      A. Background: Distinguishing an Explicit Change to the Terms,
                      Conditions, or Privileges of Employment from a Hostile Work
                      Environment

               In Meritor Savings Bank, FSB v. Vinson, the Supreme Court discussed two examples
               of unlawful harassment: (1) an explicit change to the terms or conditions of
               employment that is linked to harassment based on a protected characteristic, e.g.,
               firing an employee because the employee rejected sexual advances; and (2) conduct
               that constructively119 changes the terms or conditions of employment through
               creation of a hostile work environment.[120]

               The first type of claim was initially described as “quid pro quo” harassment in the
               context of sexual harassment.[121] In early sexual harassment cases, quid pro quo
               described a claim in which a supervisor carried out an adverse change to an
               employee’s compensation, terms, conditions, or privileges of employment because
               the employee rejected the supervisor’s sexual advances.[122]

               However, citing the Supreme Court’s 1998 decision in Burlington Industries, Inc. v.
               Ellerth, the Second Circuit later explained that a quid pro quo allegation now only
               “makes a factual claim about the particular mechanism by which a plaintiff’s sex
               became the basis for an adverse alteration of the terms or conditions of [the
               plaintiff’s] employment.”[123] The underlying issue in a quid pro quo allegation is
               the same as in any claim of disparate treatment (i.e., intentional discrimination):
               whether the claimant has satisfied the statutory requirement of establishing
               “discriminat[ion] . . . because of . . . sex” affecting the “terms [or] conditions of
                                                                                                                      App. 051
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           33/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 54 of 220   PageID 400
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 55 of 220   PageID 401
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 56 of 220   PageID 402
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 57 of 220   PageID 403
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 58 of 220   PageID 404
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 59 of 220           PageID 405
               considered, even if the employee cannot establish that either the race-based
               harassment or sex based harassment, standing alone, is sufficiently severe or
               pervasive.157

                                  Example 37: Sex-Based Remark Does Not Create
                                  Hostile Work Environment. Roxana and Liam, both
                                  audio and video technicians at a broadcast news
                                  station, are in a heated meeting about upcoming
                                  holiday programming. After Roxana makes a
                                  suggestion with which Liam disagrees, Liam says to
                                  Roxana, “It must be your time of the month, are you on
                                  the rag?” Although harassment based on menstruation
                                  can constitute or contribute to a hostile work
                                  environment based on sex,158 Liam’s lone remark is
                                  insufficient to create an objectively hostile work
                                  environment, despite being offensive.

                                  Example 38: Age-Based Harassment Creates Hostile
                                  Work Environment. Henry, age sixty two, is a
                                  consultant at a professional services company. Ryan,
                                  his supervisor, calls him “old man” on a periodic basis.
                                  Since Henry’s sixtieth birthday, Ryan has repeatedly
                                  asked him when he plans to retire, saying he can’t wait
                                  to bring in “young blood” and “fresh ideas.” During a
                                  recent staff meeting, Ryan reminded staff to get their
                                  flu shots, then looked at Henry and said, “Although I
                                  wouldn’t be heartbroken if the flu took out some of the
                                  old timers.” Henry asked Ryan if he was referring to
                                  him, and Ryan replied, “Absolutely, old man.” Henry
                                  reports feeling targeted and ashamed by Ryan’s
                                  comments. Based on these facts, Ryan has subjected
                                  Henry to an objectively hostile work environment
                                  based on age.159

               A complainant need not show that discriminatory conduct harmed the
               complainant’s work performance to prove an objectively hostile work environment
               if the evidence otherwise establishes that the conduct was sufficiently severe or
               pervasive to alter the terms or conditions of the complainant’s employment.[160]

                                                                                                                      App. 057
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           39/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 60 of 220   PageID 406
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 61 of 220   PageID 407
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 62 of 220   PageID 408
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 63 of 220           PageID 409
                                  much she loved him. Based on these facts, the conduct
                                  was sufficiently pervasive to create a hostile work
                                  environment.[183]

                                  Example 41: Sexual Favoritism Creating a Hostile
                                  Work Environment. Tasanee, an employee at a
                                  government agency, alleges that she has been
                                  subjected to a hostile work environment based on her
                                  sex. The evidence shows that supervisors engaged in
                                  consensual sexual relationships with female
                                  subordinates that were publicly known and behaved in
                                  sexually charged ways with other agency employees in
                                  public. Supervisors rewarded the subordinates who
                                  were in relationships or who acceded without
                                  objection to the behavior by granting them
                                  promotions, awards, and other benefits. Because the
                                  conduct was pervasive and could reasonably affect the
                                  work performance and motivation of other women
                                  workers who found the favoritism offensive, the
                                  evidence is sufficient to show that Tasanee was
                                  subjected to a sex-based hostile work environment.184

                               d. Context


               The harassment being challenged must create an objectively hostile work
               environment from the perspective of a reasonable person in the complainant’s
               position.185 The impact of harassment must be evaluated in the context of
               “surrounding circumstances, expectations, and relationships.”[186] Discussed below
               are some significant aspects of context that can be relevant in determining whether
               harassment was sufficiently severe or pervasive to create a hostile work
               environment. Other considerations also may be relevant in evaluating harassment
               in light of the totality of the circumstances.

               The determination of whether harassment was objectively hostile requires “an
               appropriate sensitivity to social context”187 and should be made from the
               perspective of a reasonable person of the complainant’s protected class.[188] Thus,
               if a Black individual alleges racial harassment, the harassment should be evaluated
               from the perspective of a reasonable Black individual in the same circumstances as

                                                                                                                      App. 061
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           43/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 64 of 220   PageID 410
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 65 of 220           PageID 411
                                  approaching him from behind without warning. Lila, a
                                  server, regularly drops or bangs on metal trash cans
                                  and sneaks up behind Jin while he is working, because
                                  she thinks his response is funny. Jin is so rattled after
                                  these encounters that he sometimes mixes up orders
                                  or fails to cook the food properly. Jin repeatedly tells
                                  Lila to stop, to no avail, and the conduct continues.
                                  Based on these facts, Lila’s harassment, viewed from
                                  the perspective of a reasonable person with PTSD, has
                                  created an objectively hostile work environment based
                                  on disability.

                                  Example 44: National-Origin-Based Harassment
                                  Creates an Objectively Hostile Work Environment.
                                  Somchai, a Thai national, performs seasonal
                                  agriculture work at a sweet potato farm and has an H
                                  2B visa. Somchai is told that his employer specifically
                                  recruits individuals from Thailand because they are
                                  obedient and submissive and have a good work ethic.
                                  At the worksite, Somchai is subject to frequent
                                  physical and verbal abuse, including epithets such as
                                  “slant eyes” and “rice eater.” Further, if Somchai’s
                                  supervisor observes Somchai pausing in his work, even
                                  to use the bathroom or eat lunch, the supervisor
                                  threatens to have Somchai’s visa revoked, saying,
                                  “That will turn you into an ‘illegal’ so I can call ICE and
                                  have you arrested and deported.”194 Based on these
                                  facts, the national-origin-based harassment
                                  experienced by Somchai, which is compounded by
                                  Somchai’s vulnerability as a migrant worker and visa
                                  holder, is sufficiently severe or pervasive to create an
                                  objectively hostile work environment.

                                  Example 45: Sex-Based Harassment Creates an
                                  Objectively Hostile Work Environment. Velma, a
                                  technician at a metal fabrication company, has
                                  recently been subjected to dating violence by her long-
                                  term intimate partner, which resulted in Velma moving
                                                                                                                      App. 063
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           45/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 66 of 220           PageID 412
                                  out of their shared residence and into a shelter.
                                  Velma’s coworker, Dan, learns about Velma’s current
                                  living situation and, viewing her as vulnerable, asks
                                  Velma out on a date. Despite Velma declining his
                                  request, during each shift that they work together, Dan
                                  continues to say things like, “Is living in a shelter really
                                  worse than cuddling me at night?”; “I’ll let you live with
                                  me free of charge on one condition: that you clean my
                                  house while naked”; and “the only thing that I would
                                  ever hit is that ass.” Based on these facts, the sex
                                  based harassment experienced by Velma, which must
                                  be viewed in the context of her vulnerability as a
                                  survivor of dating violence, is sufficiently severe or
                                  pervasive to create an objectively hostile work
                                  environment.

                                  Example 46: Harassment Based on Gender Identity
                                  Creates an Objectively Hostile Work Environment.
                                  Jennifer, a female cashier who is transgender and
                                  works at a fast food restaurant, is regularly and
                                  intentionally misgendered by supervisors, coworkers,
                                  and customers over a period of several weeks. One of
                                  her supervisors, Allison, intentionally and frequently
                                  uses Jennifer’s prior male name, male pronouns, and
                                  “dude” when referring to Jennifer, despite Jennifer’s
                                  requests for Allison to use her correct name and
                                  pronouns. Other managers also intentionally refer to
                                  Jennifer as “he” whenever they work together. In the
                                  presence of customers, coworkers ask Jennifer
                                  questions about her sexual orientation and anatomy
                                  and assert that she is not female. After hearing these
                                  remarks by employees, customers also intentionally
                                  misgender Jennifer and make offensive comments
                                  about her transgender status. Based on these facts,
                                  which must be viewed in the context of Jennifer’s
                                  perspective as a transgender individual, Jennifer has
                                  been subjected to an objectively hostile work

                                                                                                                      App. 064
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           46/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 67 of 220   PageID 413
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 68 of 220   PageID 414
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 69 of 220   PageID 415
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 70 of 220           PageID 416
                                  Franklin’s conduct, but again the plant manager did
                                  not take any action. Here, Rabia experienced
                                  harassment in two different departments by different
                                  harassers, but the conduct was similar in nature. The
                                  harassment in the second department occurred shortly
                                  after the harassment in the first department; the
                                  harassment in the second department started after the
                                  two harassers met; and the plant manager was
                                  responsible for addressing harassment in both
                                  departments. Based on these facts, the harassment
                                  based on religion and national origin experienced by
                                  Rabia in the two departments constitutes part of the
                                  same hostile work environment claim.[210]

                                  Example 50: Earlier Harassment Was Insufficiently
                                  Related to Later Harassment. Cassandra, who works
                                  for a printing company, was exposed to sexually
                                  explicit discussions, jokes, and vulgar language when
                                  she worked in the company’s production department.
                                  After Cassandra was transferred to the estimating
                                  department, she was no longer exposed to the
                                  harassing conduct she had experienced in the
                                  production department. However, while working in the
                                  estimating department, Cassandra overheard a male
                                  worker on the other side of her cubicle wall tell
                                  someone that if a weekend trip with one of his female
                                  friends “was not a sleepover, then she wasn’t worth
                                  the trip.” The sleepover comment was made nearly a
                                  year after Cassandra’s transfer and was not directed at
                                  Cassandra or made for her to hear. Other than that
                                  comment, Cassandra did not experience any alleged
                                  harassment after her transfer to the estimating
                                  department, which did not interact with the
                                  production department. Based on these facts the
                                  alleged harassment experienced by Cassandra in the
                                  production department was not part of the same
                                  hostile work environment claim as the alleged
                                  harassing conduct in the estimating department.[211]
                                                                                                                      App. 068
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           50/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 71 of 220   PageID 417
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 72 of 220           PageID 418
                                  occurred in Peter’s presence or he learned about them
                                  from others.216

               In some circumstances, an individual who has not personally been subjected to
               unlawful harassment based on their protected status may be able to file an EEOC
               charge and a lawsuit alleging that they have been harmed by unlawful harassment
               of a third party.[217]

                                  Example 52: Individual Harmed by Unlawful
                                  Harassment of Third Party. Sophie works in an
                                  accounting office with her coworker Eitan, who is
                                  Jewish and the son of Israelis, and their mutual
                                  supervisor, Jordan. Jordan makes frequent offensive
                                  comments about Jews and Israel, asking Eitan
                                  repeatedly when he was going to “go home and start
                                  fighting.” One day, after referring to Eitan with an
                                  epithet used for Jews, Jordan tells Sophie to hide
                                  Eitan’s work files on the office server to “make his life
                                  difficult” and to reschedule a series of important team
                                  meetings so that they will conflict with Eitan’s
                                  scheduled time off, effectively excluding him from the
                                  meetings. Sophie objects, but Jordan tells her that “if
                                  you want a future here, you better do what I tell you.”
                                  Fearing workplace repercussions if she fails to comply,
                                  Sophie reluctantly participates in the ongoing national
                                  origin and religion based harassment of Eitan.

                                  Sophie and Eitan both file EEOC charges. Eitan’s
                                  allegation is that he faced a hostile work environment
                                  based on national origin and religion; Sophie’s
                                  allegation is that Eitan faced a hostile work
                                  environment based on his national origin and religion
                                  and she was forced to participate in it. Based on
                                  evidence that the harassment occurred on a regular
                                  basis and included serious and offensive conduct,
                                  including harassment designed to interfere with Eitan’s
                                  work performance and ostracize him, the investigator


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https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           52/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 73 of 220   PageID 419
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 74 of 220           PageID 420
                                  requires all seasonal farmworkers to live in employer-
                                  provided housing, which is a converted former motel,
                                  and deducts “rent” from their paychecks. Another
                                  seasonal worker, Lucas, follows Rosa around the
                                  housing complex, waiting for her outside of her room
                                  and in the parking lot. Rosa reports Lucas’s behavior to
                                  management and complains that she feels unsafe, but
                                  no action is taken. Lucas’s behavior escalates, and he
                                  sexually assaults Rosa during non working hours at the
                                  housing complex. Although Lucas’s conduct occurred
                                  outside of the workplace, it occurred in a work-related
                                  context. Therefore, based on these facts, the
                                  harassment occurred in Rosa’s work environment.

               Conduct also occurs within the work environment if it is conveyed using work
               related communications systems, accounts, devices, or platforms, such as an
               employer’s email system, electronic bulletin board, instant message system,
               videoconferencing technology, intranet, public website, official social media
               accounts, or other equivalent services or technologies.[221] As with a physical work
               environment, conduct within a virtual work environment can contribute to a hostile
               work environment. This can include, for instance, sexist comments made during a
               video meeting, ageist or ableist comments typed in a group chat, racist imagery that
               is visible in an employee’s workspace while the employee participates in a video
               meeting, or sexual comments made during a video meeting about a bed being near
               an employee in the video image.

                                  Example 55: Conduct on Employer’s Email System
                                  Was Within the Work Environment. Ted and Perry are
                                  coworkers in an architectural firm. Ted is White, and
                                  Perry is Black. Every Monday morning, Ted sends jokes
                                  from his work computer and work email account to
                                  colleagues, including Perry. Many of the jokes involve
                                  racial stereotypes, including stereotypes about Black
                                  individuals. Perry complains to Ted and their mutual
                                  supervisor after several weeks of Ted’s emails, but Ted
                                  is not instructed to stop and continues to send such
                                  emails. Based on these facts, the racial jokes sent by
                                  Ted occurred within Perry’s work environment
                                                                                                                      App. 072
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           54/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 75 of 220   PageID 421
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 76 of 220           PageID 422
                                  use. In the post, Martina and Terri included two images
                                  of Rochelle juxtaposed with an image of the fictional
                                  ape Cornelius from the movie The Planet of the Apes,
                                  along with text explicitly comparing Rochelle to
                                  Cornelius. Rochelle learned about the post from
                                  another coworker, Jenna. Based on these facts, the
                                  combined conduct, including the social media post,
                                  was sufficient to create a hostile work environment.225

                                  Example 57: Conduct on Social Media Platform
                                  Outside Workplace Does Not Contribute to Hostile
                                  Work Environment. Michael, a courier for a
                                  management consulting firm, believes that women
                                  should dress conservatively on romantic dates and
                                  limit their food intake to appear lady like. Michael
                                  shares these beliefs in posts on his private social media
                                  accounts. He also shares posts criticizing women’s
                                  sexual behavior, such as stating, “Why would a man
                                  buy a cow when you can get the milk for free?”
                                  Michael’s coworker Donna finds some of Michael’s
                                  posts online and is deeply offended even though there
                                  is no connection between the posts and the firm or any
                                  of its employees, and Michael has never spoken to
                                  Donna about these views. These posts, on their own,
                                  do not contribute to a hostile work environment based
                                  on sex because they do not have an impact on Donna’s
                                  work environment.

               Given the proliferation of technology, it is increasingly likely that the non
               consensual distribution of real or computer-generated intimate images, such as
               through social media, messaging applications, or other electronic means, can
               contribute to a hostile work environment, if it impacts the workplace.

                                  Example 58: Conduct on Social Media Platform
                                  Outside Workplace Contributes to Hostile Work
                                  Environment. Max, a line cook at a restaurant, begins
                                  dating Anne, a server who works at the same
                                  restaurant. During their relationship, Max obtains

                                                                                                                      App. 074
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           56/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 77 of 220   PageID 423
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 78 of 220   PageID 424
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 79 of 220   PageID 425
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 80 of 220   PageID 426
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 81 of 220   PageID 427
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 82 of 220   PageID 428
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 83 of 220   PageID 429
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 84 of 220           PageID 430
               harm otherwise.266 Thus, in circumstances in which an employer fails to establish
               one or both prongs of the affirmative defense, the employer will be liable for the
               unlawful harassment. For example, if the employer is able to show that it exercised
               reasonable care but cannot show that the employee unreasonably failed to take
               advantage of preventive or corrective opportunities, the employer will not be able
               to establish the defense.

                                  Example 62: Employer Fails to Establish Affirmative
                                  Defense. Chidi, who is of Nigerian heritage, was
                                  subjected to national origin and racial harassment by
                                  his supervisor, Ang. The employer does not have a
                                  written anti harassment policy and does not offer
                                  comprehensive anti harassment training. Instead,
                                  employees are told to “follow the chain of command”
                                  if they have any complaints, which would require Chidi
                                  to report to Ang. During meetings with Chidi and his
                                  coworkers, Ang repeatedly directed egregious racial
                                  and national origin-based epithets at Chidi, and Ang’s
                                  conduct was sufficient to create a hostile work
                                  environment. Chidi reported Ang’s harassment to his
                                  manager (who was also Ang’s supervisor) on at least
                                  two separate occasions. Each time, the manager
                                  simply responded, “That’s just Ang don’t take it
                                  seriously.” Based on these facts, the employer cannot
                                  establish either prong of the affirmative defense. The
                                  employer did not exercise reasonable care to prevent
                                  or to promptly correct the harassment. Further, the
                                  employer cannot establish that Chidi unreasonably
                                  failed to take advantage of the employer’s complaint
                                  process. Based on these facts, the employer is liable for
                                  Ang’s harassment of Chidi.

                                  Example 63: Employer Avoids Liability by
                                  Establishing Affirmative Defense. Kit was subjected
                                  to a hostile work environment by their supervisor
                                  because of race. The supervisor’s harassment was not
                                  severe at first but grew progressively worse over a
                                  period of months. The employer had an effective anti-
                                                                                                                      App. 082
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           64/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 85 of 220   PageID 431
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 86 of 220   PageID 432
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 87 of 220   PageID 433
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 88 of 220           PageID 434
               employer, and the duty to take corrective action will be triggered.286 If the employer
               fails to exercise reasonable care to correct the harassing behavior, it will be unable
               to satisfy prong one of the Faragher Ellerth defense, regardless of any policy,
               complaint procedure, or training. The duty to exercise reasonable care to correct
               harassment for which an employer had notice is discussed in detail at section
               IV.C.3.b, below.

                                  Example 64: Employer Liable Because It Failed to
                                  Exercise Reasonable Care in Responding to
                                  Harassment—Employee Reported to a Supervisor.
                                  Aisha, who works as a cashier in a fast-food restaurant,
                                  was sexually harassed by one of her supervisors, Pax,
                                  an assistant manager. Aisha initially responded to Pax’s
                                  sexual advances and other sexual conduct by telling
                                  him that she was not interested and that his conduct
                                  made her uncomfortable. Pax’s conduct persisted,
                                  however, so Aisha spoke to the restaurant’s other
                                  assistant manager, Mallory. Like Pax, Mallory was
                                  designated as Aisha’s direct supervisor. The employer
                                  has an anti harassment policy, which it distributes to
                                  all employees. The policy states that all supervisors are
                                  required to report and address potentially harassing
                                  conduct when they become aware of such conduct.
                                  Mallory, however, did not report Pax’s conduct or take
                                  any action because she felt Aisha was being overly
                                  sensitive. Pax continued to sexually harass Aisha, and a
                                  few weeks after speaking with Mallory, Aisha contacted
                                  the Human Resources Director. The following day, the
                                  employer placed Pax on paid administrative leave, and
                                  a week later, after concluding its investigation of
                                  Aisha’s allegations, the employer terminated Pax. The
                                  employer contends that it took reasonable corrective
                                  action by promptly responding to Aisha’s complaint to
                                  Human Resources. However, because Mallory was one
                                  of Aisha’s supervisors, and was therefore responsible
                                  for reporting and addressing potential harassment, the
                                  employer cannot establish the affirmative defense,

                                                                                                                      App. 086
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           68/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 89 of 220           PageID 435
                                  having failed to act reasonably to address the
                                  harassment after Aisha spoke with Mallory.

                                  Example 65: Employer Liable Because It Failed to
                                  Exercise Reasonable Care in Responding to
                                  Harassment—Supervisor Witnessed Harassment.
                                  Claudia works as an overnight stocker in the
                                  housewares department of a big box store. Her
                                  employer has an anti harassment policy. The policy is,
                                  on its face, effective: for example, it describes
                                  harassment; provides multiple avenues for reporting
                                  harassment, including a 1 800 number operated by a
                                  third party vendor; and contains an anti retaliation
                                  provision. The policy is distributed to all employees at
                                  the time of their hire and can be accessed any time via
                                  computer terminals that all employees can use.
                                  Further, the employer ensures that all employees
                                  receive annual anti-harassment training that reminds
                                  them of the policy, including their rights and
                                  obligations under it.

                                  Claudia is directly supervised by Dustin, the
                                  housewares department manager. On an almost
                                  nightly basis, Dustin likes to “play a game” in which he
                                  hides between store aisles and jumps out with his
                                  penis exposed to Claudia. Ravi, who manages the
                                  employer’s produce section, has witnessed Dustin
                                  expose his penis to Claudia on a few occasions. Ravi
                                  once admonished Dustin for being a “child” and told
                                  him “acting like that will lead to you getting fired,” but
                                  took no further action to address the harassment.
                                  Claudia was embarrassed by the harassment and was
                                  afraid that complaining would jeopardize her job, so
                                  she never reported the harassment, either to the
                                  employer or the 1 800 number.

                                  Under these facts, the employer cannot establish the
                                  affirmative defense. While the employer appears to

                                                                                                                      App. 087
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           69/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 90 of 220   PageID 436
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 91 of 220   PageID 437
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 92 of 220   PageID 438
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 93 of 220   PageID 439
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 94 of 220   PageID 440
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 95 of 220           PageID 441
                                  janitorial company. The other members of Willie’s
                                  cleaning crew also are individuals with intellectual
                                  and/or developmental disabilities, except for the team
                                  lead, Bobby. (As a team lead, Bobby is responsible for
                                  ensuring all crew members have access to cleaning
                                  supplies and the spaces that the crew will be cleaning;
                                  Bobby does not have the ability to hire, fire, demote,
                                  promote, transfer, or discipline Willie or any other crew
                                  member.) At the time of hire, each new employee is
                                  required to watch a one hour anti harassment training
                                  video focusing on legal standards and is required to
                                  sign a training acknowledgment form without the
                                  opportunity to ask questions. Although Willie watched
                                  the module, he did not understand it because of his
                                  disabilities. No one from the company discussed the
                                  training with Willie. While at worksites, Bobby
                                  frequently berates Willie and other team members by
                                  calling them “dummy” or “ret*rd,” and asks demeaning
                                  questions, such as “did your mom drop you on your
                                  head when you were a baby?” Bobby also mimics the
                                  crew members’ disabilities. No one else from the
                                  janitorial company ever comes to Willie’s worksites to
                                  check in with him or the other crew members, and
                                  because Willie and the other crew members, other
                                  than Bobby, do not understand how the anti-
                                  harassment policy works, they do not complain and
                                  are subjected to continued disability based
                                  harassment. Based on these facts, the employer has
                                  not acted reasonably to prevent Willie and the other
                                  crew members from being subjected to unlawful
                                  harassment.

                                  Example 68: Employer Acted Reasonably to Prevent
                                  Unlawful Harassment. Danielle, a pulmonary and
                                  respiratory care nurse at a large hospital system, is
                                  responsible for caring for patients recovering from
                                  respiratory conditions at the hospital, such as Lewis, a
                                  patient recovering from pneumonia. At the time Lewis
                                                                                                                      App. 093
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           75/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 96 of 220   PageID 442
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 97 of 220   PageID 443
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 98 of 220           PageID 444
                                  complaint to an appropriate official authorized to take
                                  corrective action, the employer had actual notice of
                                  the alleged harassment.[324]

               A complaint can be made by a third party, such as a friend, relative, or coworker,
               and need not be made by the target of the harassment. For example, if an employee
               witnesses a coworker being subjected to racial epithets by a person at work, and
               that employee reports it to the appropriate personnel in Human Resources, the
               employer is on notice of potentially harassing behavior. Similarly, even if no one
               complains, the employer still has notice if someone responsible for correcting or
               reporting harassment becomes aware of the harassment, such as by personally
               witnessing it.[325]

               The employer’s duty to take corrective action is triggered if the notice it has received
               is sufficient to make a reasonable employer aware of the possibility that an
               individual is being subjected to harassment on a protected basis. While no “magic
               words” are required to initiate a harassment complaint, the complaint (or other
               vehicle for notice) must identify potentially harassing conduct in some way.326
               Therefore, a complaint simply that a coworker’s conduct was “rude” and
               “aggravating” might not provide sufficient notice depending on the circumstances.
               Conversely, evidence that an employee had engaged in “unwanted touching” of
               another employee likely would be sufficient to alert the employer of a reasonable
               probability that the second employee was being sexually harassed and that it
               should investigate the conduct and take corrective action.[327]

                                  Example 70: Employer Had Notice of Harassment.
                                  Susan was subjected to sex-based harassment by her
                                  coworker, Jim. Although Susan’s employer contends
                                  that it did not have notice of the conduct, evidence
                                  shows that Susan requested a schedule change when
                                  she was scheduled to work alone with Jim, and that
                                  Susan’s coworkers told her supervisor, Barb, that
                                  Susan wanted to avoid working with Jim. Also, Jim
                                  told Barb that he may have “done something or said
                                  something that [he] should not have to Susan.” When
                                  Barb asked Susan about working with Jim, Susan
                                  became teary and red and said, “I can’t talk about it.”
                                  Barb responded by saying, “That’s good because I

                                                                                                                      App. 096
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           78/189
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
          Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24         Page 99 of 220           PageID 445
                                  don’t want to know what happened.” Under the
                                  circumstances, Barb had enough information to
                                  suspect that Jim was harassing Susan. As Susan’s
                                  supervisor, Barb had the responsibility to take
                                  corrective action, if she had the authority, or to notify
                                  another official who did have the authority to take
                                  corrective action.[328]

               Although an employer cannot be found liable for conduct that does not violate
               federal EEO law, the duty to take corrective action may be triggered by notice of
               harassing conduct that has not yet risen to the level of a hostile work environment,
               but may reasonably be expected to lead to a hostile work environment if
               appropriate corrective action is not taken.[329]

               Notice of harassing conduct directed at one employee might serve as notice not
               only of the harasser’s potential for further harassment of the same employee but
               also of the harasser’s potential to harass others. Factors in assessing the relevance
               of the employer’s knowledge of prior harassment can include the “extent and
               seriousness of the earlier harassment and the similarity and nearness in time to the
               later harassment.”[330]

               An employer has constructive notice of harassing conduct if, under the
               circumstances presented, a reasonable employer should know about the conduct.
               [331] Most commonly, an employer is deemed to have constructive notice if

               harassing conduct is severe, widespread, or pervasive so that individuals
               responsible for taking action with respect to the harassment reasonably should
               know about it.[332] An employer also may be deemed to have constructive notice of
               harassment if it did not have reasonable procedures for reporting harassment.[333]

                                  Example 71: Employer Had Constructive Notice of
                                  Harassment. Joe, who is Mexican American, works as
                                  an automotive parts salesman for a car dealership.
                                  Joe’s job requires him to frequently enter the
                                  dealership’s service department. The service
                                  department is managed by Aseel, who is onsite in the
                                  service department all day when he supervises a team
                                  of five mechanics. At least once per day while Joe is in
                                  the service department, a mechanic, Tanner, yells at
                                  Joe across the room, calling him “wetback” and “sp*c,”
                                                                                                                      App. 097
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           79/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 100 of 220   PageID 446
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 101 of 220   PageID 447
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 102 of 220   PageID 448
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 103 of 220   PageID 449
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
         Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24          Page 104 of 220           PageID 450
                      unable to determine whether the alleged harassment occurred, the employer
                      may wish to consider preventive measures, such as counseling, training,
                      monitoring, or issuing general workforce reminders about the employer’s anti
                      harassment policy.362

                                          Example 73: Employer failed to take
                                          reasonable corrective action. Malak, a server at
                                          a sports bar, is visibly pregnant. Every Sunday,
                                          Kevin and Troy spend the afternoon at the bar
                                          cheering on their favorite teams, and they usually
                                          sit in Malak’s section. They repeatedly ask if they
                                          can rub her belly “for luck” before games, and
                                          berate her when she refuses, calling her a “mean
                                          mama.” They also frequently make beeping
                                          sounds and yell, “Careful! Wide load!” when
                                          Malak serves other tables. In addition, they ask if
                                          she plans to breastfeed and offer to “help out
                                          with practice sessions.” Sven, a manager,
                                          overhears Kevin and Troy, laughs, and says
                                          halfheartedly, “C’mon guys, give her a break.”
                                          They ignore him and continue to comment about
                                          Malak’s pregnancy. Malak complains to Sven,
                                          who throws up his hands and says, “Hey, I did
                                          what I could. What else do you want me to do? If I
                                          barred everyone who made a few dumb
                                          comments when they were drunk, we’d have no
                                          customers at all.” Based on these facts, the
                                          employer has failed to take reasonable corrective
                                          action to address Kevin and Troy’s pregnancy
                                          based harassment of Malak.

                                          Example 74: Employer took reasonable
                                          corrective action. Same facts as above, but
                                          instead of laughing and making a halfhearted
                                          request that Kevin and Troy stop harassing
                                          Malak, Sven tells Kevin and Troy that they must
                                          stop making comments about Malak’s pregnancy
                                          and warns them that they will be barred from the
                                                                                                                      App. 102
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           84/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 105 of 220   PageID 451
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 106 of 220   PageID 452
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
         Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24          Page 107 of 220           PageID 453
               As with an employer, an employment agency is responsible for taking reasonable
               corrective action within its own control. This is true regardless of whether the
               employment agency’s client is also a joint employer. Corrective action may include,
               but is not limited to: ensuring that the client is aware of the alleged harassment;
               insisting that the client conduct an investigation and take appropriate corrective
               measures on its own; working with the client to jointly conduct an investigation
               and/or identify appropriate corrective measures; following up and monitoring to
               ensure that corrective measures have been taken; and providing the worker with
               the opportunity to take another job assignment at the same pay rate, if such an
               assignment is available and the worker chooses to do so.

                                  Example 75: Temporary Agency Takes Adequate
                                  Corrective Action, But Client Does Not. Yousef is a
                                  Muslim software engineer of Arab American heritage.
                                  He is assigned by an employment agency to work for a
                                  technology company on a software development
                                  project. The evidence establishes that the agency and
                                  technology company are joint employers of Yousef.
                                  Soon after Yousef starts working, Eddie, one of his
                                  coworkers, begins making frequent comments about
                                  his religion and ethnicity. For example, Eddie says that
                                  Middle Easterners and Muslims “prefer to solve
                                  problems with their guns and bombs, rather than their
                                  brains.” He also says that “the Middle East’s number
                                  one export is terrorism,” and recommends that
                                  Yousef’s work be reviewed carefully “to make sure he’s
                                  not embedding bugs on behalf of terrorists.” Yousef
                                  tells Eddie to stop, but he refuses. Yousef complains to
                                  the employment agency, which promptly notifies the
                                  technology company and requests that it take
                                  corrective action. The technology company refuses to
                                  take any action, explaining that Eddie is one of its most
                                  experienced programmers, that his assistance is crucial
                                  to the project’s satisfactory completion, and that his
                                  reputation in the tech industry has attracted numerous
                                  prestigious clients to the company. The employment
                                  agency promptly reassigns Yousef to a different client
                                  at the same pay rate.377 The employment agency also
                                                                                                                      App. 105
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           87/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 108 of 220   PageID 454
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 109 of 220   PageID 455
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 110 of 220   PageID 456
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 111 of 220   PageID 457
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 112 of 220   PageID 458
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
         Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24          Page 113 of 220           PageID 459
                     The Court in Bostock explained that “it is impossible to discriminate against a
                     person for being homosexual or transgender without discriminating against
                     that individual based on sex,” and therefore held that discharging an employee
                     because of sexual orientation or gender identity is unlawful sex discrimination
                     that violates section 703(a)(1). See Bostock v. Clayton Cnty., 590 U.S. 644, 660,
                     683 (2020). As a form of sex discrimination, discrimination on the basis of
                     sexual orientation or gender identity therefore violates section 703(a)(1) on the
                     same terms as any other form of sex discrimination, including failing or refusing
                     to hire, or otherwise discriminating against an individual with respect to
                     compensation, terms, conditions, or privileges of employment. Any other
                     interpretation would be inconsistent with the statutory text and with Bostock,
                     and would introduce an inconsistent and textually unsupported asymmetry
                     under which an employee could not be terminated because of their sexual
                     orientation or gender identity but could be harassed or otherwise
                     discriminated against in the terms and conditions of employment based on
                     those same characteristics.

                     For these reasons, as stated in the final guidance, federal courts interpreting
                     Bostock have readily found that unlawful workplace harassment based on
                     sexual orientation or gender identity that constructively changes the terms and
                     conditions of employment under section 703(a)(1) constitutes sex
                     discrimination. See the cases cited in footnote 37 of the final Enforcement
                     Guidance on Harassment in the Workplace.

                     Bostock stated that it did not address “bathrooms, locker rooms, or anything
                     else of the kind.” 590 U.S. at 681. Nothing in the guidance suggests that Bostock
                     addressed those issues. Because the EEOC is statutorily required to investigate
                     all private sector Title VII charges of discrimination presented to it in the
                     administrative process, and also to decide administrative appeals by federal
                     employees raising Title VII claims, the EEOC must sometimes take a position on
                     whether an alleged type of conduct violates Title VII even in the absence of
                     binding Supreme Court precedent. In fulfilling its statutory duties, the EEOC
                     considers applicable legal authority and arguments advanced by affected
                     parties when determining whether a violation has occurred in the context of a
                     particular charge or federal sector EEO appeal. As noted in the final guidance,
                     by the time Bostock was decided the Commission had been presented with the
                     federal sector administrative appeal in Lusardi v. Department of the Army, EEOC
                     Appeal No. 0120133395, 2015 WL 1607756 (Apr. 1, 2015), involving a
                                                                                                                      App. 111
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           93/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 114 of 220   PageID 460
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 115 of 220   PageID 461
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 116 of 220   PageID 462
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 117 of 220   PageID 463
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 118 of 220   PageID 464
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 119 of 220   PageID 465
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 120 of 220   PageID 466
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
         Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24          Page 121 of 220           PageID 467
               told that members of the Ku Klux Klan worked at the facility; had objects thrown at
               him while he was praying; was physically intimidated and shoulder checked; and
               was required to perform tasks by means that were unnecessarily onerous); EEOC v.
               Chipotle Servs., LLC, No. 2:22-cv-00279 (W.D. Wash. consent decree entered Sept. 14,
               2023) (settlement on behalf of three female employees, including a teenager,
               subjected to a sexually hostile work environment that included touching,
               unwelcome sexual comments, and requests for sex); EEOC v. T.M.F Mooresville, LLC,
               No. 5:21-cv-00128 (W.D.N.C. consent decree entered Aug. 24, 2022) (settlement on
               behalf of a class of White housekeeping employees allegedly subjected to
               harassment based on race, which included use of racially derogatory terms such as
               “white trash”); EEOC v. CCC Grp., 1:20-cv-00610 (N.D.N.Y. consent decree entered Aug.
               9, 2021) (settlement on behalf of seven Black employees at an industrial
               construction site allegedly subjected to repeated racist slurs, displays of nooses,
               and comments about lynchings by White supervisors and coworkers); EEOC v.
               Nabors Corp. Servs., Inc., No. 5:16-cv-00758 (W.D. Tex. consent decree entered Nov.
               12, 2019) (settlement on behalf of nine Black employees and one White employee
               based on alleged racial harassment, which included employees being addressed as
               “n****r” and being referred to as the “colored crew,” and retaliation, among other
               allegations).

               4 42 U.S.C. § 2000e-5 (Title VII); 29 U.S.C. § 626 (Age Discrimination in Employment

               Act (ADEA)); 42 U.S.C. § 12117(a) (Americans with Disabilities Act (ADA)); 42 U.S.C. §
               2000ff 6(a) (Genetic Information Nondiscrimination Act (GINA)). This guidance
               addresses harassment claims under provisions of the federal EEO laws that prohibit
               discrimination by employers, including section 703(a)(1) of Title VII, 42 U.S.C. § 2000e-
               2(a)(1) (private sector and state and local government) and section 717 of Title VII, 42
               U.S.C. § 2000e 16(a) (federal agencies). It does not address potential claims of
               unlawful harassment under provisions that prohibit discrimination by other entities
               covered under Title VII, such as employment agencies and labor organizations,
               including sections 703(b) and 703(c) of Title VII, 42 U.S.C. §§ 2000e 2(b) and 2000e 2(c).
               See, e.g., Dixon v. Int’l Bhd. of Police Officers, 504 F.3d 73, 84-85 (1st Cir. 2007)
               (upholding a jury verdict finding a union liable for sexual harassment that occurred
               during a union sponsored bus trip).

               The standards discussed here under EEOC enforced laws will not necessarily apply
               to claims alleging unlawful harassment under other federal laws or under state or
               local laws.


                                                                                                                      App. 119
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           101/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 122 of 220   PageID 468
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 123 of 220   PageID 469
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 124 of 220   PageID 470
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 125 of 220   PageID 471
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 126 of 220   PageID 472
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 127 of 220   PageID 473
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 128 of 220   PageID 474
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 129 of 220   PageID 475
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
         Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24          Page 130 of 220           PageID 476
               Bostock and stating that “discrimination against transgender individuals like [the
               plaintiff] is discrimination ‘because of sex’”); Sch. of the Ozarks, Inc. v. Biden, 41 F.4th
               992, 995 (8th Cir. 2022) (“Bostock held that the statute’s prohibition on employment
               discrimination ‘because of sex’ encompasses discrimination on the basis of sexual
               orientation and gender identity.”); Olivarez v. T-Mobile USA, Inc., 997 F.3d 595, 598
               (5th Cir. 2021) (“Under Bostock v. Clayton County, discrimination on the basis of
               sexual orientation or gender identity is a form of sex discrimination under Title VII.”).

               In its decisions regarding federal employees’ EEO claims, the Commission has
               concluded that discrimination on the basis of sexual orientation or gender identity
               violates Title VII. See, e.g., Lusardi v. Dep’t of the Army, EEOC Appeal No. 0120133395,
               2015 WL 1607756, at *10 13 (Apr. 1, 2015) (finding that harassment violated section
               717 of Title VII, which prohibits federal agencies from engaging in employment
               discrimination on the basis of sex, because the harassment was based on the
               plaintiff’s gender identity); Baldwin v. Dep’t of Transp., EEOC Appeal No. 0120133080,
               2015 WL 4397641, at *5, *10 (July 15, 2015) (concluding as a matter of law that
               sexual orientation is inherently “a ‘sex-based consideration,’” and that an allegation
               of discrimination based on sexual orientation is necessarily an allegation of sex
               discrimination under section 717 of Title VII).

               37
                 Bostock itself concerned allegations of discriminatory discharge, but the Supreme
               Court’s reasoning in the decision about the nature of discrimination based on sex
               logically extends to claims of harassment that change the terms, conditions, or
               privileges of employment under section 703(a)(1) of Title VII. As a result, courts have
               readily found post Bostock that claims of harassment based on one’s sexual
               orientation or gender identity are cognizable under Title VII. See, e.g., Copeland,
               2024 WL 1316677, at *5 (citing Bostock and stating that “a transgender man who was
               harassed about his gender after coming out at work” was subjected to
               ““discrimination ‘because of sex’”); Roberts v. Glenn Indus. Grp., Inc., 998 F.3d 111,
               121 (4th Cir. 2021) (“[T]he Supreme Court’s holding in Bostock makes clear that a
               plaintiff may prove that same-sex harassment is based on sex where the plaintiff
               was perceived as not conforming to traditional male stereotypes.”); Doe v. City of
               Det., 3 F.4th 294, 300 n.1 (6th Cir. 2021) (stating that harassment on the basis of
               transgender identity is sex discrimination under Title VII because “it is impossible to
               discriminate against a person for being . . . transgender without discriminating
               against that individual based on sex”); Simmons v. Starved Rock Casework LLC, No.
               20-CV-1684, 2021 WL 5359017, at *2 (E.D. Wis. Nov. 17, 2021) (finding that the
               plaintiff had stated a claim for relief by alleging a hostile work environment based
                                                                                                                      App. 128
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           110/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 131 of 220   PageID 477
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 132 of 220   PageID 478
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 133 of 220   PageID 479
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 134 of 220   PageID 480
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 135 of 220   PageID 481
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 136 of 220   PageID 482
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 137 of 220   PageID 483
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 138 of 220   PageID 484
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
         Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24          Page 139 of 220           PageID 485
               Indian descent as “Taliban” or “Arab” and stated that “[t]his is America . . . not the
               Islamic country where you came from,” even though the harassing comments did
               not accurately describe the employee’s actual country of origin); Goings v. Lopinto,
               No. 22-2549, 2023 WL 2709826, at *5 (E.D. La. Mar. 30, 2023) (stating that
               “[d]iscrimination on the basis of sexual orientation, including perceived sexual
               orientation, is prohibited under Title VII” and denying the employer’s motion to
               dismiss where the plaintiff alleged he was called slurs and derogatory terms
               targeting homosexual individuals by his supervisor, who perceived the plaintiff as
               gay after seeing a photograph of the plaintiff shirtless and wrestling another male
               coworker); Kallabat v. Mich. Bell Tel. Co., No. 12 CV 15470, 2015 WL 5358093, at *3 4
               (E.D. Mich. June 18, 2015) (denying summary judgment to the employer on the
               plaintiff’s claim that he was harassed based on the mistaken perception that he was
               Muslim); Arsham v. Mayor & City Council of Balt., 85 F. Supp. 3d 841, 844, 849 (D. Md.
               2015) (holding that an employee of Persian descent stated a valid claim of national
               origin discrimination and harassment even though her employer mistakenly
               believed her to be a member of the Parsee ethnic group, which the plaintiff
               researched and believed originated in India and was a lower caste). But see, e.g.,
               Yousif v. Landers McClarty Olathe KS, LLC, No. 12-2788, 2013 WL 5819703, at *3-4 (D.
               Kan. Oct. 29, 2013) (stating that “perceived” discrimination claims are not
               cognizable under Title VII); El v. Max Daetwyler Corp., No. 3:09 CV 415, 2011 WL
               1769805, at *5-6 (W.D.N.C. May 9, 2011) (rejecting the proposition that Title VII
               provides a claim for discrimination based on misperception), aff’d, 451 F. App’x 257
               (4th Cir. 2011).

               67
                 See, e.g., Frith v. Whole Foods Mkt., Inc., 38 F.4th 263, 272 (1st Cir. 2022)
               (concluding that claims alleging discrimination based on interracial association “are
               fundamentally consistent with Bostock v. Clayton County, 590 U.S. 644 (2020)] and
               Title VII’s plain language prohibiting action ‘because of such individual[ ]’ plaintiff’s
               race”); Barrett v. Whirlpool Corp., 556 F.3d 502, 512 (6th Cir. 2009) (observing that
               “Title VII protects individuals who . . . are ‘victims of discriminatory animus toward
               [protected] third persons with whom the individuals associate’” and that a
               complainant may be discriminated against based on his own race because the
               difference between his race and the race of the individual with whom he associated
               was the cause of the discrimination (quoting Tetro v. Elliott Popham Pontiac,
               Oldsmobile, Buick, & GMC Trucks, Inc., 173 F.3d 988, 994 (6th Cir. 1999))); Holcomb v.
               Iona Coll., 521 F.3d 130, 138 39 (2d Cir. 2008) (holding that Title VII prohibits
               discrimination based on interracial association and observing that multiple other
               circuits agree); cf. Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 175-78 (2011)
                                                                                                                      App. 137
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           119/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 140 of 220   PageID 486
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 141 of 220   PageID 487
5/20/24, 1 28 PM                   Enforcement Guidance on Harassment in the Workplace | U S Equal Employment Opportunity Commission
         Case 2:24-cv-00173-Z               Document 31            Filed 10/23/24          Page 142 of 220           PageID 488
               basis of gender.”); Tang v. Citizens Bank, 821 F.3d 206 (1st Cir. 2016) (reversing
               summary judgment for the employer where harassment of an Asian woman
               included a discussion of the purported obedience of Asian women); EEOC v. Boh
               Bros. Constr. Co., 731 F.3d 444, 459 (5th Cir. 2013) (en banc) (upholding a jury verdict
               on the grounds that a claim that a male employee was harassed because of sex
               could be established by evidence showing that the male harasser targeted the
               employee for not conforming to the harasser’s “manly man” stereotype); Waldo v.
               Consumers Energy Co., 726 F.3d 802 (6th Cir. 2013) (harassment of a female
               employee in a heavily male environment included telling her to “pee like a man”
               and ridiculing her for carrying a purse); Rosario v. Dep’t of Army, 607 F.3d 241, 244
               (1st Cir. 2010) (harassment included a supervisor constantly complaining about the
               plaintiff’s work attire and bringing coworkers to look at her clothes); Prowel v. Wise
               Bus. Forms, Inc., 579 F.3d 285 (3d Cir. 2009) (denying summary judgment for
               employer where the plaintiff was harassed based on gender stereotypes of how a
               man should look, speak, and act because the plaintiff had a high voice; walked in a
               certain manner; did not curse; was very well groomed; crossed his legs; and
               discussed topics like art, music, and interior design); Kang, 296 F.3d 810 (hostile
               work environment claim based on supervisor’s stereotypical notions that Korean
               workers were better than others and that the plaintiff failed to live up to his
               supervisor’s expectations); Nichols v. Azteca Rest. Enters., 256 F.3d 864 (9th Cir. 2001)
               (systemic abuse of a male restaurant employee for failing to conform to male
               stereotypes); Eller v. Prince George’s Cnty. Pub. Sch., 580 F. Supp. 3d 154 (D. Md. 2022)
               (employer’s response to harassment of transgender teacher included trying to hide
               plaintiff’s gender identity by restricting her clothes, footwear, make up, and nail
               polish); Membreno v. Atlanta, 517 F. Supp. 3d 425 (D. Md. 2021) (harassment of
               transgender worker included questioning how a man could be attracted to her and
               ridiculing and demeaning her when she used the ladies’ bathroom to the point that
               she would avoid relieving herself); Doe v. Triangle Doughnuts, LLC, 472 F. Supp. 3d
               115, 129 (E.D. Pa. 2020) (harassment of transgender worker included being
               subjected to a stricter dress code than other female employees); Parker v. Strawser
               Constr., Inc., 307 F. Supp. 3d 744 (S.D. Ohio 2018) (denying motion to dismiss
               transgender woman’s hostile work environment claim, which included allegations
               that she was told to “just dress like a man,” that she made an “ugly woman,” and
               that after the worker complained of several years of harassment, she was told to “be
               like a man” and “act like a man”); Salinas v. Kroger Tex., L.P., 163 F. Supp. 3d 419 (S.D.
               Tex. 2016) (harassment of male coworker was based on the harasser’s perception
               that the plaintiff was effeminate and had “a body like a woman”); Barrett v. Pa. Steel

                                                                                                                      App. 140
https //www eeoc gov/laws/guidance/enforcement guidance harassment workplace                                                           122/189
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 143 of 220   PageID 489
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 144 of 220   PageID 490
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 145 of 220   PageID 491
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 146 of 220   PageID 492
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 147 of 220   PageID 493
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 148 of 220   PageID 494
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 149 of 220   PageID 495
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 150 of 220   PageID 496
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 151 of 220   PageID 497
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 152 of 220   PageID 498
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 153 of 220   PageID 499
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 154 of 220   PageID 500
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 155 of 220   PageID 501
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 156 of 220   PageID 502
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 157 of 220   PageID 503
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 158 of 220   PageID 504
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 159 of 220   PageID 505
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 160 of 220   PageID 506
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 161 of 220   PageID 507
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 162 of 220   PageID 508
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 163 of 220   PageID 509
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 164 of 220   PageID 510
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 165 of 220   PageID 511
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 166 of 220   PageID 512
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 167 of 220   PageID 513
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 168 of 220   PageID 514
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 169 of 220   PageID 515
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 170 of 220   PageID 516
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 171 of 220   PageID 517
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 172 of 220   PageID 518
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 173 of 220   PageID 519
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 174 of 220   PageID 520
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 175 of 220   PageID 521
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 176 of 220   PageID 522
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 177 of 220   PageID 523
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 178 of 220   PageID 524
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 179 of 220   PageID 525
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 180 of 220   PageID 526
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 181 of 220   PageID 527
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 182 of 220   PageID 528
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 183 of 220   PageID 529
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 184 of 220   PageID 530
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 185 of 220   PageID 531
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 186 of 220   PageID 532
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 187 of 220   PageID 533
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 188 of 220   PageID 534
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 189 of 220   PageID 535
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 190 of 220   PageID 536
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 191 of 220   PageID 537
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 192 of 220   PageID 538
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 193 of 220   PageID 539
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 194 of 220   PageID 540
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 195 of 220   PageID 541
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 196 of 220   PageID 542
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 197 of 220   PageID 543
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 198 of 220   PageID 544
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 199 of 220   PageID 545
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 200 of 220   PageID 546
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 201 of 220   PageID 547
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 202 of 220   PageID 548
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 203 of 220   PageID 549
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 204 of 220   PageID 550
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 205 of 220   PageID 551
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 206 of 220   PageID 552
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 207 of 220   PageID 553
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 208 of 220   PageID 554
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 209 of 220   PageID 555
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 210 of 220   PageID 556
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 211 of 220   PageID 557
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 212 of 220   PageID 558
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 213 of 220   PageID 559
Case 2:24-cv-00173-Z   Document 31   Filed 10/23/24   Page 214 of 220   PageID 560
       Case 2:24-cv-00173-Z            Document 31           Filed 10/23/24          Page 215 of 220           PageID 561



                                            Texas Department of Agriculture
COM M ISSIONER SID M ILLER                    Dress Code and Grooming Policy


 Objective           An employee’s appearance should reflect the culture, dignity, and professionalism of the Texas Department
                     of Agriculture. All employees, regardless of assignment, are expected to present themselves in a
                     professional manner that cultivates a favorable impression from coworkers, other government officials,
                     agency customers and the general public. Employees are expected to comply with this dress code in a
                     manner consistent with their biological gender. Basic elements for appropriate attire across the board
                     consist of clothing that is in neat and clean condition.

 Applicability       This dress code and grooming policy applies to all employees of TDA, including interns and contract
                     employees who will be working on TDA premises or interacting with others on behalf of TDA. Divisions
                     may institute dress codes for their respective areas but may not authorize violation of the minimum
                     standards established by this agency policy. An exception would be for appropriate attire related to a
                     specialized service, activity or event being conducted. Examples of such would be field work in
                     agriculture and consumer protection, export pens, facilities-related labor and other similar types of
                     specialized assignments or special events that, as a practical matter, call for a departure from these
                     standards. In such circumstances employees shall wear attire appropriate for the mission. See “Specific
                     requirements and departure from standards”, below.

 Procedures          TDA supervisors may exercise reasonable discretion in assessing appropriateness in employee attire and
                     appearance. Any staff member who does not meet the attire or grooming standards set by TDA will be
                     subject to corrective action and may be asked to leave the premises to change their clothing. Staff members
                     will not be compensated for any work time missed because of failure to comply with designated workplace
                     attire and grooming standards.

 Guidelines          Business Attire
                     Business attire should generally be utilized where employees will be interacting with the public and other
                     government officials or testifying or making presentations on behalf of the agency. This would consist of
                     traditional business wear, including Western business attire.

                     The following are some examples of business attire: For men, business attire includes a long-sleeved dress
                     shirt, tie, and sport coat worn with trousers and dress shoes or boots. For women, business attire includes
                     tailored pantsuits, businesslike dresses, coordinated dressy separates worn with or without a blazer, and
                     conservative, closed-toe shoes or boots.

                     Business Casual
                     For less formal occasions, business casual attire, which is less formal than traditional business attire, but is
                     still intended to give a professional and businesslike impression, may be appropriate. Business casual is the
                     appropriate minimum attire for day-to-day office assignments where in-person interaction is primarily with
                     fellow coworkers and not with the general public or other government officials.

                     Western attire is included in the business casual category and is encouraged. Jeans may not be tattered or
                     torn. Cowboy hats must reflect favorably on the professionalism of the agency and in no circumstance be
                     unclean or tattered.

                     The following are some examples of business casual attire:
                     Shirts with collars, business casual crewneck or V-neck shirts, blouses, and golf and polo shirts.

                     Examples of inappropriate shirts include T-shirts, shirts with inappropriate slogans, tank tops, muscle
                     shirts, camouflage, and crop tops.

                     Pants: Casual slacks and trousers and jeans without holes, frays, etc. Examples of inappropriate pants
 Dress Code & Grooming Policy                                                                             Created April 13, 2023
                                                                                                                App. 213
      Case 2:24-cv-00173-Z            Document 31           Filed 10/23/24          Page 216 of 220           PageID 562
                                                                                                        2


                    include shorts, camouflage, and baggy or sagging pants or pants worn below the waist or hip line.

                    Footwear: Casual slip-on or tie shoes, Western boots, and clean athletic shoes. Examples of inappropriate
                    footwear include flip-flops, slippers, slides and crocs.

                    TDA-Specific Attire
                    Agency uniforms and approved agency embroidered attire are allowable and encouraged. Employees
                    should confirm the appropriate agency-related attire with their supervisor.

                    Inappropriate Attire and Grooming Generally
                    Employees are expected to demonstrate good judgment and professional taste. Courtesy towards coworkers
                    and one’s professional image to customers are factors to be used in assessing whether you are dressing in
                    attire that is appropriate. Cleanliness and proper hygiene are indispensable. The following are examples of
                    inappropriate dress:

                    Clothing that is too tight or revealing; clothing with rips, tears or frays; or any extreme style or fashion;
                    pajamas, workout clothes and sweats; T-shirts, shirts with inappropriate slogans, tank tops, team jerseys,
                    muscle shirts, camouflage and crop tops; shorts, camouflage pants, baggy or sagging pants or pants worn
                    below the waist or hip line; flip-flops, slides, slippers or crocs.

                    Examples of Standards for Men and Women
                    Standards for men’s attire: Shoelaces tied, shirts buttoned appropriately near the collar, button down shirts
                    tucked in; no pants tucked in boots; no sandals, crocs or slides, no shoes without socks. You are a
                    professional, look like one.

                    Standards for women’s attire: No sweatpants, pajamas, night gowns, miniskirts, no excessive cleavage,
                    skirts should be within four inches of the knees. Pants and Western apparel are allowable. Footwear should
                    reflect a business or business casual professional look; no slippers, crocs, or slides. You are a professional,
                    look like one.

                    Grooming Standards
                    No unnatural neon or fluorescent hair colors, no nose, lip, or other facial piercings.

                    Specific requirements and departure from standards
                    Certain staff members may be required to meet special dress, grooming and hygiene standards, such as
                    wearing uniforms or protective clothing, depending on the nature of their job. Uniforms and protective
                    clothing may be required for certain positions. Special events may necessitate a departure from the agency
                    dress code. Supervisors should be consulted to confirm the applicability of specific requirements and
                    departure from the normal agency standards.

Addressing          Violations of the policy can range from inappropriate clothing items to offensive perfumes/colognes and
Related             body odor. If a staff member comes to work inappropriately groomed or attired, he or she will be required
Workplace           to go home, change into conforming attire, or properly groom, and return to work.
Problems
                    If a staff member’s inappropriate attire, poor hygiene or use of offensive perfume/cologne is an issue, the
                    supervisor should first discuss the problem with the staff member in private and should point out the
                    specific areas to be corrected.

                    If problems with an employee persist, supervisors should follow the normal disciplinary process. Violation
                    of this agency policy includes remedies up to and including termination.




Dress Code & Grooming Policy                                                                             Created April 13, 2023
                                                                                                               App. 214
Case 2:24-cv-00173-Z       Document 31        Filed 10/23/24     Page 217 of 220       PageID 563



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

  STATE OF TEXAS AND THE HERITAGE
  FOUNDATION,

                                        Plaintiffs,

  v.                                                   No. 2:24-cv-00173-Z

  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION; CHARLOTTE A. BURROWS, in
  her official capacity as Chairman of the
  Equal Employment Opportunity
  Commission; MERRICK B. GARLAND, in his
  official capacity as Attorney General of the
  United States,

                                      Defendants.



                           DECLARATION OF ERIC KORSVALL

        Pursuant to 28 U.S.C. § 1746, I, Eric Korsvall, duly affirm under penalty of perjury as

 follows:

        1.     I am over 18 years of age, have personal knowledge of the matters set forth herein,

 and am competent to make this Declaration.

        2.     I serve as Chief Operating Officer for The Heritage Foundation (“Heritage”). My

 responsibilities include overseeing Heritage’s legal compliance, finances and accounting, human

 resources management, and other administrative operations. As part of my oversight functions, I

 help ensure proper implementation and compliance with state and federal anti-discrimination laws.

 That includes reviewing and evaluating rules and regulations promulgated by federal agencies,

 including the Equal Employment Opportunity Commission (“EEOC” or “Commission”), to

 determine whether they necessitate policy changes for Heritage. And where such changes are

                                                  1

                                                                                        App. 215
Case 2:24-cv-00173-Z        Document 31      Filed 10/23/24      Page 218 of 220       PageID 564



 necessary—either because Heritage does not have a policy required by the regulation or has a

 conflicting policy—I help prepare and execute a plan for bringing Heritage policies into

 compliance.

        3.     Heritage is a 100% mission-aligned, donor-supported, educational organization that

 formulates and promotes conservative public policies based on the principles of free enterprise,

 limited government, individual freedom, traditional American values, and a strong national

 defense. Heritage is a non-profit, tax-exempt organization recognized by the IRS under Section

 501(c)(3) of the Internal Revenue Code since 1973.

        4.     Heritage is an employer subject to the requirements of Title VII. Heritage employs

 approximately 300 individuals.

        5.     I have reviewed the guidance promulgated by the EEOC on April 29, 2024, entitled,

 Enforcement     Guidance    on    Harassment       in   the   Workplace   (“2024    Guidance”),

 https://perma.cc/F272-6JTL, which states that “[u]nder Title VII, ‘sex’ includes … sexual

 orientation and gender identity.” The 2024 Guidance then offers examples of actionable “sex-

 based harassment,” including the “use of a name or pronoun inconsistent with the individual’s

 known gender identity (misgendering)” and “the denial of access to a bathroom or other sex-

 segregated facility consistent with the individual’s gender identity.” It also states—in “Example

 15”—that it is “harassing conduct … based on … gender identity” if a supervisor requires a

 biological male employee to wear pants rather than a dress.

        6.     Applying the full import of the 2024 Guidance would be antithetical to and violate

 Heritage’s mission and values. To avoid the liability imminently threatened by the EEOC’s current

 understanding of what Title VII requires, as reflected in the 2024 Guidance, and without court




                                                2

                                                                                        App. 216
Case 2:24-cv-00173-Z         Document 31       Filed 10/23/24      Page 219 of 220      PageID 565



 protection, Heritage would need to devote significant time and resources to creating or updating

 policies, customs, and training programs.

        7.         Barring court protection, compliance with the guidance would require Heritage to

 revise its existing policies regarding workplace discrimination and harassment to account for the

 myriad examples the 2024 Guidance believes amount to discrimination or harassment on the basis

 of sexual orientation or gender identity. Heritage would have to update or develop new materials

 and training programs to reflect those policy changes, as well as develop a program to track the

 training of its employees on these new policies. Heritage would also need to stand up a new

 reporting and complaint process for alleged incidents of “misgendering” or bathroom-access

 disputes.

        8.         All of this would require time and resources that Heritage would pay but which

 would never be recoverable.

        9.         Further, Heritage has a dress code that requires employees to “come to work in

 professional dress, consistent with the mission, culture, business functions, and purpose of

 Heritage,” and historically employees have dressed in a manner traditionally befitting their

 biological sex.

        10.        Heritage also would have to spend money investigating whether it should convert

 all existing sex-specific bathrooms into single-occupancy bathrooms. That appears to be one

 possible way to comply with the 2024 Guidance. In the event Heritage concludes such a project is

 needed, Heritage would have to spend significant financial resources on the conversions.

 Heritage’s headquarters is in downtown Washington, D.C., just a few blocks from the U.S. Capitol,

 and available space is extremely limited, making any such conversions even costlier. Heritage’s

 headquarters is located in renovated historic buildings originally constructed in the 1920s.



                                                   3

                                                                                         App. 217
Case 2:24-cv-00173-Z         Document 31       Filed 10/23/24    Page 220 of 220    PageID 566



 Significant modifications to the core of the building where the restrooms are located to

 accommodate the full import of the 2024 Guidance are likely impossible due to the proximity of

 the elevator, stair, and electrical stacks.




                                                                ____________________________
                                                                Eric Korsvall

                                                                       10/21/2024
                                                                Dated: ______________________




                                                  4

                                                                                     App. 218
